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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


                                                Civil Action No. 2:16-9449 (KSH) (CLW)
    IN RE ALLERGAN GENERIC DRUG                 CONSOLIDATED SECOND
    PRICING SECURITIES LITIGATION               AMENDED CLASS ACTION
                                                COMPLAINT
                                                JURY TRIAL DEMANDED
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         Lead Plaintiffs Sjunde AP-Fonden (“AP7”) and Union Asset Management Holding AG

  (“Union,” and together with AP7, “Plaintiffs”), by and through their undersigned counsel, bring

  this action individually and on behalf of all other persons and entities who purchased or otherwise

  acquired the common and preferred stock of Allergan plc between October 29, 2013 and

  November 2, 2016, both dates inclusive (the “Class Period”), and were injured thereby (the

  “Class”). Before June 15, 2015, Allergan plc was known as Actavis plc. Allergan plc and Actavis

  plc are collectively referred to herein as “Allergan” or the “Company.”

         Plaintiffs allege the following upon personal knowledge as to themselves and their own

  acts, and upon information and belief as to all other matters. Plaintiffs’ information and belief is

  based upon, among other things, the investigation conducted by and through their attorneys, which

  included, among other things, a review of Defendants’ public documents, conference calls and

  announcements made by Defendants, United States Securities and Exchange Commission (“SEC”)

  filings, wire and press releases published by and regarding Allergan, analysts’ reports and

  advisories about the Company, IMS pricing data for various generic drugs, various civil complaints

  alleging violations of federal and state antitrust and unfair competition laws by Allergan and/or

  certain of its subsidiaries, and information readily obtainable on the Internet. Plaintiffs believe

  that substantial additional evidentiary support will exist for the allegations set forth herein after a

  reasonable opportunity for discovery.

  I.     INTRODUCTION

         1.      Plaintiffs bring this federal securities class action on behalf of a class consisting of

  all persons other than Defendants (defined below) who purchased or otherwise acquired Allergan

  common and preferred stock during the Class Period, seeking to recover damages caused by

  Defendants’ violations of the federal securities laws and to pursue remedies under Sections 10(b),



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  14(a), and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”) and SEC Rules 10b-

  5 and 14a-9.

         2.      This action arises out of Allergan’s participation in an overarching generic

  pharmaceutical price-fixing conspiracy that is the focus of investigations by Congress, the U.S.

  Department of Justice Antitrust Division (“DOJ”), and several state Attorneys General.

         3.      Allergan is a specialty pharmaceutical company that develops, manufactures,

  markets, and distributes medical aesthetics, biosimilar, and over-the-counter pharmaceutical

  products worldwide. Allergan has operations in more than 100 countries. Founded in 1983, the

  Company was formerly known as Actavis plc. In November 2014, Actavis plc announced its

  intention to acquire Allergan Inc. On March 17, 2015, Actavis plc completed its acquisition of

  Allergan Inc. and changed its name to Allergan plc on June 15, 2015. Allergan is headquartered

  in Dublin, Ireland, and its administrative headquarters are located in Parsippany, New Jersey. The

  Company’s common stock has traded on the New York Stock Exchange (“NYSE”) under the

  ticker symbol “AGN” since June 15, 2015 and its preferred stock trades on the NYSE under the

  ticker symbol “AGN.PA.” Before June 15, 2015, the common stock of Actavis plc traded on the

  NYSE under the ticker symbol “ACT.” On July 26, 2015, Allergan entered into a Master Purchase

  Agreement, under which Teva Pharmaceutical Industries Ltd. (“Teva”) agreed to acquire the

  Company’s global generic pharmaceuticals business unit. On August 2, 2016, the companies

  announced the completion of the acquisition.

         4.      Generic drugs are a key component of the United States healthcare system,

  accounting for approximately 88% of all prescriptions written in the U.S. Generic drugs are

  biologically equivalent to brand-name pharmaceuticals and save consumers and the American

  healthcare system hundreds of billions of dollars each year because such drugs must be substituted



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  for the branded product at the point of sale by a pharmacist under substitution laws, which exist in

  the vast majority of states.

          5.     Generic drugs are typically less expensive than the branded counterpart. When the

  first generic drug manufacturer enters a branded market, the generic pharmaceutical is priced

  slightly lower than the branded pharmaceutical.        The entrance of a second generic drug

  manufacturer reduces the average generic price to nearly half the brand price. Generic drugs

  generally can be priced at 30% to 80% less than branded drugs, lowering prescription costs for

  patients, employers, and healthcare providers. For this reason, generic drugs have long been

  referred to as one of the few “bargains” in the U.S. healthcare system, and historically, healthcare

  experts have commented that cost savings from the growing generic drug market have gone a long

  way toward containing overall increasing healthcare costs. This was the way the generic drug

  market was intended to work, and has worked, since the passage of the Hatch-Waxman Act in

  1984.

          6.     Over the last few years, however, prices for several commonly prescribed generic

  drugs have skyrocketed without legitimate economic reasons, sparking outrage from consumers

  whose costs have doubled, tripled or in some cases increased more than ten-fold. Normal market

  forces cannot explain these astronomical hikes. A series of acquisitions has reduced the number

  of market participants, and these highly concentrated markets have created opportunities for

  industry rivals to conspire with one another to hike prices for generic drugs far beyond what they

  would otherwise be in a competitive market.

          7.     Allergan’s anti-competitive conduct impacted several generic drugs, including

  Propranolol, as well as Ursodiol, Doxycycline, and Desonide, which Allergan identified as “key

  products” that, together with around twenty other generic drugs, “comprised a majority of product



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  sales for North American Generics.” As graphically presented below (see ¶¶ 108, 111, 114, 127,

  141, 144, 147, 160), for each of these drugs, there is a clear pattern of an industry conference

  attended by Allergan and its competitors, followed by an abrupt and unprecedented spike in the

  Allergan price, closely timed with spikes in Allergan’s competitors’ prices. These patterns are

  undeniable and provide clear evidence of a price-fixing conspiracy, particularly because there is

  no evidence of contemporaneous supply shortages, increased costs, or increases in demand to

  otherwise explain the drastic price increases for all of these drugs. What is more, the price

  increases operated as a “one-way ratchet”: as the graphs below depict, the drug prices never

  decreased following the initial price increases to the extent one would expect if the sudden price

  increases reflected temporary supply shortages, cost increases, or other benign market

  explanations. (¶¶ 108, 111, 114, 127, 141, 144, 147, 160).

         8.      Allergan’s extraordinary and historic price increases for these generic drugs would

  have been against Allergan’s economic self-interest absent the existence of a price-fixing scheme.

  Generic drugs are commodity products. Absent price collusion, if one manufacturer raises the

  price of a given drug, its competitors will seek to increase their own market share by selling the

  drug to the first manufacturer’s customers at lower prices. Indeed, under the “maximum allowable

  cost” (“MAC”) pricing regime that governs much of the U.S. generic pharmaceutical market, drug

  cost reimbursements from insurance companies are capped at a certain price, and if a drug

  manufacturer raises its prices above this cap while its competitors do not, the reimbursements for

  the higher-priced drug will cease. Thus, it would not be in any drugmaker’s unilateral self-interest

  to increase the prices of its generic drugs unless it had an agreement with the other drugmakers

  that they would do the same.




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         9.      Witnesses—including Allergan’s former Associate Director of Finance and a

  former management-level marketing employee—confirmed that Allergan officials who attended

  the industry conferences preceding these historic and stratospheric price increases were

  responsible for generic drug pricing at the Company during the Class Period. These witnesses’

  accounts were recently corroborated by the Attorneys General of 46 plaintiff States in a proposed

  amended pleading, discussed further below.

         10.     The suspicious price increases by Allergan and others spawned investigations by

  the state Attorneys General and the DOJ. These investigations have begun to reveal a broad, well-

  coordinated, and long-running series of schemes to fix prices for a number of generic drugs. As a

  result of their years’-long investigation, which involved the production of numerous documents,

  phone, and text records, the Attorneys General have described a wide-ranging and illegal

  conspiracy involving Allergan and others through which generic drug manufacturers

  communicated – either in person, by telephone, or by text message – and agreed to collectively

  raise and/or maintain prices for a generic drugs. These investigations have also revealed that the

  structure of the generic drug industry provided numerous opportunities for collusive

  communications at meetings of trade associations, such as the Generic Pharmaceutical Association

  (“GPhA”), and other industry gatherings and dinners attended by senior Allergan officials,

  including some of the Individual Defendants (defined below).

         11.     These investigations trace back to January 2014 when the National Community

  Pharmacists Association (“NCPA”) wrote to the U.S. Senate Health Education Labor and Pensions

  (“HELP”) Committee and the U.S. House Energy and Commerce Committee requesting hearings

  on the significant spike in generic pharmaceutical pricing. The NCPA’s news release states:

         Pharmacy acquisition prices for many essential generic drugs have risen by as much
         as 600%, 1,000% or more, according to a survey of more than 1,000 community


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         pharmacists conducted by NCPA. The same survey found that patients are
         declining their medication due to increased co-pays (or total costs for the uninsured)
         and that the trend has forced more seniors into Medicare’s dreaded coverage gap
         (or “donut hole”) where they must pay far higher out-of-pocket costs.

         Over the last six months I have heard from so many of our members across the U.S.
         who have seen huge upswings in generic drug prices that are hurting patients and
         pharmacies ability to operate,” NCPA CEO B. Douglas Hoey, RPh, MBA wrote in
         a letter to the panels’ respective leaders, Chairman Tom Harkin (D-Iowa) and
         Ranking Member Lamar Alexander (R-Tenn.) and Chairman Fred Upton (R-Mich.)
         and Ranking Member Henry Waxman (D-Calif.).1

         12.     On October 2, 2014, U.S. Senator Bernie Sanders and U.S. Representative Elijah

  E. Cummings sent letters to Allergan (then Actavis) and thirteen other generic drug companies

  asking for detailed information on various generic drug price hikes.2 On November 20, 2014,

  during a Senate committee held a hearing entitled, “Why Are Some Generic Drugs Skyrocketing

  In Price?,” various witnesses discussed the price hikes for generic pharmaceuticals.

         13.     In November 2014, the DOJ, as part of its ongoing investigation, convened a grand

  jury in the Eastern District of Pennsylvania. On November 3, Lannett Co. Inc. (“Lannett”)—one

  of the companies that hiked the prices of their generic drugs at or close to the same time that

  Allergan raised its prices—reported that its Senior Vice President of Sales and Marketing had

  received a subpoena from the DOJ in connection with the federal investigation of the generic

  pharmaceutical industry requesting information on Lannett’s generic drug pricing and

  communications with competitors. On December 5, 2014, Lannett itself received a subpoena




  1
         News Release, NCPA, Generic Drug Price Spikes Demand Congressional Hearing,
  Pharmacists Say (Jan. 8, 2014), http://www.ncpanet.org/newsroom/newsreleases/2014/01/08/
  generic-drug-price-spikes-demand-congressional-hearing-pharmacists-say.
  2
          U.S. Senator Bernie Sanders Senate Website, Congress. Investigating Why Generic Drug
  Prices Are Skyrocketing (Oct. 2, 2014), https://www.sanders.senate.gov/newsroom/press-
  releases/congress-investigating-why-generic-drug-prices-are-skyrocketing

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  requesting similar information. This grand jury has issued subpoenas and requests for information

  to at least ten other generic drug manufacturers as well, including Heritage Pharmaceuticals Inc.

  (“Heritage”), Impax Laboratories, Inc. (“Impax”), and Mylan Pharmaceuticals Inc. (“Mylan”)—

  companies that also raised the prices of some of their generics at or close to the same time as

  Allergan’s price increases.

         14.     According to a June 26, 2016 article by Policy and Regulatory Report, the DOJ’s

  investigation is wide-ranging: “A PaRR source says prosecutors see the case much like its antitrust

  probe of the auto parts industry, which has gone on for years and morphed into the department’s

  largest criminal antitrust probe ever. Like in that case, prosecutors expect to ‘move from one drug

  to another in a similar cascading fashion.’”

         15.     On August 6, 2015, Allergan disclosed in a filing with the SEC that it had received

  a subpoena from the DOJ in June 2015. Media outlets reported on this disclosure, stating that

  “Allergan Plc’s Actavis unit got a subpoena from the U.S. Justice Department seeking information

  on the marketing and prices of its generic drugs, becoming the biggest company yet to draw

  scrutiny in the government’s widening antitrust probe of the industry,” and noting that Allergan

  joined other companies who “have made similar disclosures in the past several months.” On this

  news, Allergan’s common share price fell $17.17 per share, or approximately 5%, from its

  previous closing price to close at $319.47 per share on August 6, 2015, and its preferred share

  price fell $39.24 per share, or approximately 3.5%, from its previous closing price to close at

  $1,084.00 per share on August 6, 2015. In an effort to counter the negative effects of the disclosure

  of the DOJ subpoena, Allergan’s CEO, Defendant Saunders, appeared on CNBC’s Mad Money

  with Jim Cramer on August 6, 2015. Saunders attempted to counter any market “panic” by stating

  that “the DOJ investigation really is a red herring,” the investigation, with respect to Allergan, was



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  “not that significant,” and that any pricing increases were solely attributable to “supply and

  demand” influences.

         16.     The fact that the DOJ sent a subpoena to Allergan after sending subpoenas to

  certain of its competitors strongly suggests that evidence learned in those other investigations led

  the DOJ to believe that Allergan was also participating in a price-fixing conspiracy. Moreover,

  the DOJ has filed motions to intervene in several civil antitrust actions alleging price-fixing in

  violation of the Sherman Act against Allergan and/or the Actavis generic drug unit sold to Teva in

  August 2016, as well as other sellers of the generic drugs mentioned above. In these cases, the

  plaintiffs have requested that the various generic drug company-defendants produce all documents

  produced to the DOJ in the criminal investigation. In one such motion to intervene, the DOJ

  explained that the “action presents a risk to the United States’ interest in ensuring the integrity of

  its ongoing criminal investigation” because, among other reasons, “its ongoing criminal antitrust

  investigation shares common questions of law and fact with the civil claims” and because the

  plaintiffs have sought the same documents produced to the federal prosecutors.3 The various civil

  antitrust actions alleging price-fixing have now been consolidated into eighteen multidistrict

  lawsuits (seven of which target Allergan) alleging antitrust claims against generic drug

  conspirators (the “Generic Drugs MDL”). To date, the DOJ has sought to stay further discovery

  in the Generic Drugs MDL, noting in a May 1, 2017 filing that “[e]vidence uncovered during the

  criminal investigation implicates other companies and individuals (including a significant

  number of the Defendants [in the Generic Drug MDL]) in collusion with respect to doxycycline




  3
         FWK Holdings, LLC v. Actavis Elizabeth, LLC, et al, 1:16-cv-09901-JSR (S.D.N.Y. Jan.
  30, 2017), ECF No. 72 at 5, 7. The district court in this action denied the defendants’ motion to
  dismiss the complaint on April 6, 2017. See id., ECF No. 134.

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  hyclate, glyburide, and other drugs (including a significant number of the drugs at issue [in the

  Generic Drug MDL]).”4 The DOJ’s intervention in these civil actions implicating Allergan’s

  price-fixing activities gives rise to a strong and credible inference that the allegations of price-

  fixing are supported (at least in part) by documents and other information provided to the DOJ.

         17.     On November 3, 2016, media outlets reported that U.S. prosecutors might file

  criminal charges against Allergan and several other pharmaceutical companies for unlawfully

  colluding to fix generic drug prices. In an article titled “U.S. Charges in Generic-Drug Probe to

  Be Filed by Year-End,” Bloomberg reported, in relevant part:

         U.S. prosecutors are bearing down on generic pharmaceutical companies in a
         sweeping criminal investigation into suspected price collusion, a fresh challenge
         for an industry that’s already reeling from public outrage over the spiraling costs of
         some medicines.

         The antitrust investigation by the Justice Department, begun about two years ago,
         now spans more than a dozen companies and about two dozen drugs, according to
         people familiar with the matter. The grand jury probe is examining whether some
         executives agreed with one another to raise prices, and the first charges could
         emerge by the end of the year, they said.

         Though individual companies have made various disclosures about the inquiry,
         they have identified only a handful of drugs under scrutiny, including a heart
         treatment and an antibiotic. Among the drugmakers to have received subpoenas
         are industry giants Mylan NV and Teva Pharmaceutical Industries Ltd. Other
         companies include Actavis, which Teva bought from Allergan plc in August,
         Lannett Co., Impax Laboratories Inc., Covis Pharma Holdings Sarl, Sun
         Pharmaceutical Industries Ltd., Mayne Pharma Group Ltd., Endo International
         Plc’s subsidiary Par Pharmaceutical Holdings and Taro Pharmaceutical Industries
         Ltd.

         All of the companies have said they are cooperating except Covis, which said last
         year it was unable to assess the outcome of the investigation.




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         Unless otherwise noted herein, all emphasis is added.


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  On this news, Allergan’s common share price fell $9.07, or approximately 4.58%, to close at

  $188.82 on November 3, 2016, and its preferred share price fell $30.03, or approximately 4.1%,

  to close at $708.45 on November 3, 2016.

         18.     On December 12 and December 13, 2016, the DOJ filed the first criminal charges

  stemming from its ongoing investigation (the “Heritage Indictments”). See United States v.

  Glazer, No. 2:16-cr-00506-RBS (E.D. Pa. Dec. 12, 2016); United States v. Malek, No. 2:16-cr-

  00508-RBS (E.D. Pa. Dec. 13, 2016). These cases allege that Jeffrey Glazer and Jason Malek, the

  former CEO and President, respectively, of generic drugmaker Heritage violated the Sherman Act

  by participating in conspiracies to fix prices, rig bids, and allocate customers for, among other

  generic pharmaceuticals, Doxycycline hyclate, which was one of the drugs sold by Allergan at

  historically high prices during the Class Period.

         19.     According to Count One of the Heritage Indictments, “[t]he charged combination

  and conspiracy consisted of a continuing agreement, understanding, and concert of action among

  the defendant and co-conspirators, the substantial terms of which were to allocate customers, rig

  bids, and fix and maintain prices for doxycycline hyclate sold in the United States.” The Heritage

  Indictments allege that Glazer and Malek, along with co-conspirators, carried out the conspiracy

  by engaging in anti-competitive conduct, including the participation of subordinate employees in

  meetings, conversations, and communications with co-conspirators to allocate customers, fix

  prices or rig bids for Doxycycline hyclate sold in the United States.

         20.     On January 9, 2017, Glazer and Malek pleaded guilty to conspiring to manipulate

  prices of Doxycycline hyclate between April 2013 and December 2015, as well as other generic

  drugs. At the plea hearing, DOJ prosecutors stated that the conspiracy also involved rival

  companies.



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         21.     Besides the ongoing DOJ investigation, on December 15, 2016, the Attorneys

  General of Connecticut and nineteen other states filed a civil complaint in the U.S. District Court

  for the District of Connecticut against various generic pharmaceutical manufacturers, including

  Teva Pharmaceuticals USA, Inc. (“Teva USA”), Mayne Pharma (USA) Inc. (“Mayne”), and

  Mylan, also alleging price-fixing, market allocation, and bid rigging of generic pharmaceuticals

  (the “Initial AG Complaint”). Teva USA’s Actavis unit (part of Allergan before July 26, 2015)

  received a subpoena from the Connecticut Attorney General in connection with its price-fixing

  investigation. The Initial AG Complaint states that the Attorneys General “have uncovered a wide-

  ranging series of conspiracies implicating numerous different drugs and competitors, which will

  be acted upon at the appropriate time.” The Attorneys General describe these conspiracies as

  “schemes to fix and maintain prices, allocate markets and otherwise thwart competition” and

  explain that they are carried out by generic drug companies through their senior executives who

  “exploit their interactions at various and frequent industry trade shows, customer conferences and

  other similar events, to develop relationships and sow the seeds for their illegal agreements.”

         22.     The Connecticut Attorney General’s December 15, 2016 press release regarding

  the Initial AG Complaint states that the Connecticut Attorney General “has dedicated significant

  resources to this investigation for more than two years and has developed compelling evidence of

  collusion and anti-competitive conduct across many companies that manufacture and market

  generic drugs in the United States.” The Connecticut Attorney General’s press release further

  states that “[w]e have evidence of widespread participation in illegal conspiracies across the

  generic-drug industry.”

         23.     On May 24, 2017, the Connecticut Attorney General announced that Malek and

  Glazer, the Heritage CEO and President who pled guilty to price-fixing, had entered into settlement



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  and cooperation agreements with Connecticut and the other states investigating the anticompetitive

  conduct in the generic drug industry.

         24.     On August 3, 2017, the Attorneys General’s action was transferred to the Eastern

  District of Pennsylvania for inclusion in the Generic Drugs MDL. On October 31, 2017, the

  Attorneys General released a redacted copy of their proposed amended complaint (the “Amended

  AG Complaint”), which broadly expands the scope of their action. The Amended AG Complaint

  names Allergan, along with seventeen other generic drug manufacturers, as defendants, and adds

  allegations related to thirteen additional generic drugs, bringing the total number of drugs at issue

  up to fifteen. The Attorneys General clearly signaled that further charges, involving additional

  generic drugs, are likely, stating that “[t]he Plaintiff States continue to investigate additional

  conspiracies, involving these and other generic manufacturers, regarding the sale of other drugs

  not identified in this Complaint, and will likely bring additional actions based on those conspiracies

  at the appropriate time in the future.” In a press release issued to announce the Amended AG

  Complaint, Connecticut Attorney General George Jepsen reaffirmed the continuing nature of the

  State Attorneys General’s investigation , stating: “[w]hen [the initial] complaint was filed, I said

  it was just the tip of the iceberg. Today, we are seeking leave of the court to file an expanded

  complaint that implicates significantly more companies, significantly more drugs and two

  individual executives in the illegal conduct. We allege in this complaint that the defendant

  companies’ collusion was so pervasive that it essentially eliminated competition from the market

  for these 15 drugs in its entirety. Our ongoing investigation continues to uncover additional

  evidence, and we anticipate bringing more claims involving additional companies and drugs at the

  appropriate time.”




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         25.      The Amended AG Complaint provides detailed, corroborative evidence of

  Allergan’s role in this broad price-fixing conspiracy. For example, the Amended AG Complaint

  describes how collusive agreements, often reached at trade meetings and industry dinners—

  including a specific January 2014 dinner attended by CEOs, Presidents, and Senior Vice Presidents

  of at least thirteen generic drug manufacturers, including Allergan—were later reinforced through

  phone calls and text messages between executives and sales people from Allergan and its co-

  conspirators (defined below). A list of phone records accessed to date by the Attorneys General

  demonstrates the frequency of these types of communications, revealing at least 334 separate

  communications between Allergan and one co-conspirator between July 2013 and July 2014 alone.

  In addition, the Amended AG Complaint includes detailed facts regarding specific illegal

  agreements between manufacturers to the fix prices the prices for several generic drugs. For

  example, the Amended AG Complaint provides (in redacted form) specific communications

  between executives at Allergan and co-conspirators Heritage, Teva USA and Aurobindo Pharma

  USA, Inc. (“Aurobindo”) through which the companies planned and confirmed collusive price

  activity in connection with the sale of generic drugs Glyburide-Metformin and Verapamil.

         26.     Throughout the Class Period, Defendants failed to disclose that: (i) Allergan’s

  generics unit and several of its pharmaceutical industry peers colluded to fix generic drug prices;

  and (ii) consequently, Allergan’s revenues during the Class Period were in part the result of illegal

  conduct. As a result of these omissions, Allergan’s public statements were materially false and

  misleading at all relevant times. Defendants also issued false and misleading statements during

  the Class Period regarding the purportedly competitive nature of Allergan’s pricing conduct and

  the generic drug markets in which it operated. These false and misleading statements also

  disguised the true source of Allergan’s income from generic drug sales, i.e., price collusion.



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         27.     During the Class Period, revenue from the manufacture and sale of generic

  pharmaceuticals was vital to Allergan. In its 2013 Annual Report filed on February 25, 2014,

  Allergan reported that Actavis Pharma, the segment that included the Company’s generic drug

  business, generated $6.35 billion in revenues in 2013, or approximately 73% of the Company’s

  total revenues. The Company also told its investors that “market share, revenues and gross profit

  attributable to a particular generic product normally is related to the number of competitors in that

  product’s market [and] pricing” and emphasized that Allergan “actively compete[s] in the generic

  pharmaceutical industry.”

         28.     Allergan reiterated statements about the Company’s success in the generics market

  in its 2014 Annual Report dated February 18, 2015, and in its 2015 Annual Report dated February

  26, 2016. In each of these annual reports, Allergan also reported sustained revenues attributable

  to its generic pharmaceutical business, with revenues for the generic drug segment peaking at

  $6.75 billion in 2014.

                                       2013                    2014                     2015
        Revenues from              $6.35 billion           $6.75 billion           $6.37 billion
      Segment Including           (73.2% of total         (51.7% of total         (42.2% of total
      Generics Business5            revenues)               revenues)               revenues)6




  5
        This segment was named “Actavis Pharma” in 2013 but was subsequently renamed “North
  American Generics and International.”
  6
          As a result of Allergan’s July 27, 2015 announcement that the Company had agreed to sell
  its global generics business to Teva, Allergan reported net revenues from its global generics
  business in the “Income from discontinued operations” portion of the Company’s February 26,
  2016 Form 10-K.

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         29.     During this period of significant sustained revenues, Allergan’s cost of sales for the

  generic drug segment actually declined. In 2014, for example, the Company’s revenues increased

  by $400 million over the prior year, but the cost of sales declined by $90 million.

                                       2013                    2014                     2015
       Cost of Sales for
      Segment Including            $3.29 billion           $3.20 billion            $3.05 billion
      Generics Business


         30.     During the Class Period, Allergan also touted its ability to both raise and maintain

  generic drug prices, without ever mentioning the price-fixing it was engaged in with its rival

  drugmakers. For example, during an analyst conference on May 29, 2014, Defendant Paul M.

  Bisaro, the Company’s then-CEO, explained that Allergan is seeing more “sustainable and longer-

  term higher pricing in the generic industry than people are generally used to” as companies are

  increasingly “taking those price increases and those price increases are sticking.” Similarly, during

  Allergan’s August 5, 2014 conference call with analysts and investors, Defendant Brenton L.

  Saunders, the Company’s current CEO, stated that “there are more opportunities to take price

  [increases], particularly as we leverage our strong supply chain and the reliability of high-quality

  supply that we can offer customers.” During the Company’s second quarter 2015 conference call

  on May 11, 2015, Saunders similarly explained that while “the model for generics is price

  decreases as more competitors come into the market . . . the environment has remained pretty

  stable and favorable.”

         31.     Through these representations, Defendants led investors to falsely believe that

  higher generic drug pricing was sustainable and that the Company’s success was the result of its

  active competition in the industry. Defendants’ misleading statements voluntarily put the source

  of Allergan’s revenue from generic drugs at issue while concealing the use of illegal anti-


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  competitive conduct to drive that revenue.          The Company’s income statements were also

  misleading, because they conveyed a sense of strong profitability without mentioning the price-

  fixing collusion which fueled that profitability.

            32.   As Allergan and the Individual Defendants made these false statements and

  omissions throughout the Class Period—during a time in which they had knowledge of (or

  recklessly disregarded) the Company’s price-fixing conduct—some of them, including Defendants

  Bisaro, Buchen, Joyce, and Olafsson, made substantial sales of their Allergan stock totaling

  millions of dollars. These insider sales further evidence Defendants’ intent to defraud the investing

  public.

            33.   As a result of Defendants’ acts and omissions, and the precipitous decline in the

  market value of Allergan’s securities, Plaintiffs and other Class members have suffered significant

  losses and damages.

  II.       JURISDICTION AND VENUE

            34.   The claims asserted herein arise under Sections 10(b), 14(a) and 20(a) of the

  Exchange Act, 15 U.S.C. §§ 78j(b), 78t(a), and 78n(a), and the rules and regulations promulgated

  thereunder, including SEC Rule 10b-5, 17 C.F.R. § 240.10b-5, and SEC Rule 14a-9, 17 C.F.R. §

  240.14a-9.

            35.   This Court has jurisdiction over the subject matter of this action pursuant to Section

  27 of the Exchange Act, 15 U.S.C. § 78aa, and under 28 U.S.C. § 1331, because this is a civil

  action arising under the laws of the United States.

            36.   Venue is proper in this District pursuant to Section 27 of the Exchange Act and 28

  U.S.C. § 1391(b), because Defendant Allergan conducts business in this District and also maintains

  its administrative headquarters in this District.



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         37.     In connection with the acts, conduct and other wrongs alleged in this Complaint,

  Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

  including but not limited to, the United States mail, interstate telephone communications, and the

  facilities of the national securities exchange.

  III.   PARTIES

         A.      Plaintiffs

         38.     Plaintiff AP7 is a state pension fund in Sweden that manages approximately $33

  billion in premium pension assets on behalf of Swedish investors. As set forth in the attached

  Certification (Exhibit A), AP7 acquired Allergan stock at artificially inflated prices during the

  Class Period and suffered damages as a result of the violations of the federal securities laws alleged

  herein. Some of the shares acquired by AP7 during the Class Period were acquired in connection

  with Allergan’s July 1, 2014 acquisition of Forest Laboratories, Inc. (“Forest”) (the “Forest

  Merger”) and Actavis plc’s March 17, 2015 acquisition of Allergan, Inc. (the “Actavis Merger”).

         39.     Plaintiff Union is the holding organization of the Union Investment Group and is

  based in Frankfurt am Main, Germany. The Union Investment Group ranks among the leading

  German investors by market share. As set forth in the attached Certification (Exhibit B), two of

  the investment management companies of the Union Investment Group, namely Union Investment

  Privatfonds GmbH (“UIP”) and Union Investment Luxembourg S.A. (“UIL”), manage the relevant

  funds that acquired Allergan stock at artificially inflated prices during the Class Period and

  suffered damages as a result of the violations of the federal securities laws alleged herein. UIP

  and UIL have assigned the claims of the funds to Union. See ECF No. 10-3.




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         B.     Defendants

                1.      Allergan plc

         40.    Defendant Allergan is incorporated in Ireland, and the Company’s principal

  executive offices are located at Clonshaugh Business and Technology Park, Coolock, Dublin, D17

  E400, Ireland. The Company’s administrative headquarters are located at Morris Corporate Center

  III, 400 Interpace Parkway, Parsippany, New Jersey. Allergan’s common stock trades on the

  NYSE under the ticker symbol “AGN” and its preferred stock trades on the NYSE under the ticker

  symbol “AGN.PA.”

         41.    On February 17, 2014 Allergan entered into an Agreement and Plan of Merger (the

  “Forest Merger Agreement”) with Forest. Pursuant to the Forest Merger Agreement, Allergan

  acquired Forest through a series of merger transactions (the “Forest Merger”). Allergan solicited

  and received shareholder approval of the Forest Merger through a joint proxy statement and

  prospectus filed on Form 424B3 with the SEC on May 6, 2014 (the “May 6, 2014 Proxy”).

  Allergan announced the completion of its acquisition of Forest on July 1, 2014.

         42.    Actavis plc and Allergan, Inc. announced on November 17, 2014 that they had

  entered into a definitive agreement under which Actavis would acquire Allergan for a combination

  of cash and stock in a transaction valued at approximately $66 billion. Actavis solicited and

  received shareholder approval of the Actavis Merger through a joint proxy statement and

  prospectus filed with the SEC on January 27, 2015 (the “January 27, 2015 Proxy”). On March 17,

  2015, Actavis announced the completion of the Actavis Merger. On June 15, 2015, Actavis

  announced that the Company had adopted Allergan plc as its new global name and would begin

  trading on the NYSE under the “AGN” ticker, abandoning the Company’s prior “ACT” ticker.

         43.    On July 27, 2015, Teva announced that it had entered into a definitive agreement

  with Allergan to acquire Allergan’s generics business in exchange for $33.75 billion in cash and

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  $6.75 billion in Teva stock, amounting to just under a 10% ownership. In connection with this

  deal, Teva agreed to sell the rights and assets related to 79 pharmaceutical products following

  Federal Trade Commission (“FTC”) charges that Teva’s acquisition of Allergan’s generics

  business would be anti-competitive. On August 2, 2016, Teva announced that the acquisition was

  complete.

                2.     The Individual Defendants

         44.    Defendant Paul M. Bisaro (“Bisaro”) served as Allergan’s Chief Executive Officer

  (“CEO”) and President between October 2013 and July 2014. Bisaro also served on Allergan’s

  Board of Directors (“Board”) when the May 6, 2014 Proxy and January 27, 2015 Proxy were

  issued. On March 27, 2017, Bisaro was appointed as President and CEO of Impax. Bisaro signed

  certifications pursuant to Sarbanes-Oxley Act (“SOX”) and Rule 13a-14(a) under the Exchange

  Act (“Rule 13a-14(a)”) for the Company’s 3Q 2013 and 1Q 2014 Forms 10-Q and 2013 Form 10-

  K, which contained false and misleading statements and omissions; he also made false and

  misleading statements and omissions in the Company’s 3Q 2013, 4Q 2013, 1Q 2014, and 2Q 2014

  Forms 8-K, at a healthcare conference, and during a Company earnings call.7

         45.    Defendant Brenton L. Saunders (“Saunders”) has served as Allergan’s CEO and

  President since July 2014. Saunders is located in Parsippany, New Jersey. Saunders also served

  on Allergan’s Board when the January 27, 2015 Proxy was issued. Saunders signed certifications

  pursuant to SOX and Rule 13a-14(a) for the Company’s 2Q 2014, 3Q 2014, 1Q 2015, 2Q 2015,

  3Q 2015, 1Q 2016, 2Q 2016, and 3Q 2016 Forms 10-Q and 2014 and 2015 Forms 10-K statements,




  7
         Each of the Company’s Class Period SEC filings is defined below.

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  which contained false and misleading statements and omissions; he also made false and misleading

  statements and omissions during the Company’s earnings calls.

         46.    Defendant R. Todd Joyce (“Joyce”) served as Allergan’s Chief Financial Officer

  (“CFO”) from October 2009 to December 2014. Joyce signed certifications pursuant to SOX and

  Rule 13a-14(a) for the Company’s 3Q 2013, 1Q 2014, 2Q 2014 and 3Q 2014 Forms 10-Q and

  2013 Form 10-K, which contained false and misleading statements and omissions. Joyce also

  signed Allergan’s 3Q 2013, 4Q 2013, 1Q 2014, 2Q 2014, and 3Q 2014 Forms 8-K, which

  contained false and misleading statements and omissions.

         47.    Defendant Maria Teresa Hilado (“Hilado”) has served as Allergan’s CFO since

  December 2014. Hilado is located in Parsippany, New Jersey. Hilado signed certifications

  pursuant to SOX and Rule 13a-14(a) for the Company’s 1Q 2015, 2Q 2015, 3Q 2015, 1Q 2016,

  2Q 2016, and 3Q 2016 Forms 10-Q and 2014 and 2015 Forms 10-K, which contained false and

  misleading statements and omissions. Hilado also signed Allergan’s 4Q 2014, 1Q 2015, 2Q 2015,

  3Q 2015, and 4Q 2015 Forms 8-K, which contained false and misleading statements and

  omissions.

         48.    Defendant Sigurdur O. Olafsson (“Olafsson”) served as a director of Allergan and

  the President of Actavis Pharma, the Allergan segment that included the Company’s generics

  business, between April 2012 and June 2014. Olafsson also served on Allergan’s Board when the

  May 6, 2014 Proxy was issued. Olafsson subsequently served as the President and CEO of the

  Global Generic Medicines Group at Teva Pharmaceutical Industries Ltd. before stepping down in

  early 2017. Olafsson made a false and misleading statement and omission during a Company

  earnings call and also signed the Company’s 2013 Form 10-K.




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           49.   Defendant David A. Buchen (“Buchen”) served as Allergan’s Chief Legal Officer

  (Global) and Secretary from April 2012 to July 2014 and then served as the Executive Vice

  President Commercial, North American Generics and International, from July 2014 to May 1,

  2015. Upon his termination, Buchen served as a consultant for the Company until May 1, 2016.

  Buchen made a false and misleading statement and omission on one of the Company’s earnings

  calls.

           50.   The Defendants referenced above in ¶¶ 44-49 are referred to herein as the

  “Individual Defendants.”

                 3.     The Director Defendants

           51.   Defendant James H. Bloem (“Bloem”) served on Allergan’s Board when the May

  6, 2014 Proxy and January 27, 2015 Proxy were issued.

           52.   Christopher W. Bodine (“Bodine”) served on Allergan’s Board when the May 6,

  2014 Proxy and January 27, 2015 Proxy were issued.

           53.   Tamar D. Howson (“Howson”) served on Allergan’s Board when the May 6, 2014

  Proxy and January 27, 2015 Proxy were issued.

           54.   John A. King, Ph.D. (“King”) served on Allergan’s Board when the May 6, 2014

  Proxy and January 27, 2015 Proxy were issued.

           55.   Catherine M. Klema (“Klema”) served on Allergan’s Board when the May 6, 2014

  Proxy and January 27, 2015 Proxy were issued.

           56.   Jiri Michal (“Michal”) served on Allergan’s Board when the May 6, 2014 Proxy

  and January 27, 2015 Proxy were issued.

           57.   Jack Michelson (“Michelson”) served on Allergan’s Board when the May 6, 2014

  Proxy was issued.



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         58.     Patrick J. O’Sullivan (“O’Sullivan”) served on Allergan’s Board when the May 6,

  2014 Proxy and January 27, 2015 Proxy were issued.

         59.     Ronald R. Taylor (“Taylor”) served on Allergan’s Board when the May 6, 2014

  Proxy and January 27, 2015 Proxy were issued.

         60.     Andrew L. Turner (“Turner”) served on Allergan’s Board when the May 6, 2014

  Proxy and January 27, 2015 Proxy were issued.

         61.     Fred G. Weiss (“Weiss”) served on Allergan’s Board when the May 6, 2014 Proxy

  and January 27, 2015 Proxy were issued.

         62.     Bisaro, Olafsson, Bloem, Bodine, Howson, King, Klema, Michal, Michelson,

  O’Sullivan, Taylor, Turner, and Weiss are referred to herein as the “2014 Board of Directors.”

         63.     Nesli Basgoz, M.D. (“Basgoz”) served on Allergan’s Board when the January 27,

  2015 Proxy was issued.

         64.     Christopher J. Coughlin (“Coughlin”) served on Allergan’s Board when the

  January 27, 2015 Proxy was issued.

         65.     Bisaro, Bloem, Bodine, Howson, King, Klema, Michal, O’Sullivan, Taylor, Turner,

  Weiss, Basgoz, and Coughlin are referred to herein as the “2015 Board of Directors.”

         C.      The Co-Conspirators

         66.     Various other persons, firms, corporations, and entities participated as co-

  conspirators (the “Co-Conspirators”) with Allergan in the anti-competitive conduct alleged herein.

  The Co-Conspirators include, but are not limited to: Lannett; Impax; Heritage; Mylan; Epic

  Pharma, LLC (“Epic”); West-Ward Pharmaceutical Corporation (“West-Ward”); Mutual

  Pharmaceutical (“Mutual”); Perrigo Company plc (“Perrigo”), Taro Pharmaceutical Industries

  Ltd. (“Taro”), Aurobindo, and Teva USA. To engage in this anti-competitive conduct, the Co-



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  Conspirators performed acts in furtherance of the anti-competitive practices and conspiracies

  alleged herein.

  IV.     FACTUAL ALLEGATIONS

          A.        By Law, the Generic Drug Market in the United States is Designed for
                    Drugs to Reach Equilibrium Price Points

          67.       Since the implementation of the Drug Price Competition and Patent Term

  Restoration Act (known as the “Hatch-Waxman Act”) in 1984, generic drugs have had a significant

  impact on healthcare in the U.S., resulting in tens of billions of dollars in annual savings for

  consumers and the overall healthcare system. The Hatch-Waxman Act was initially enacted to

  simplify the regulatory hurdles for bringing generic drugs to market and eliminated the prior

  requirement that generic drug companies file costly New Drug Applications (“NDA”) to obtain

  U.S. Food and Drug Administration (“FDA”) approval. The Hatch-Waxman Act is designed to

  get less expensive generic drugs into the hands of consumers expeditiously. Under the revised

  process, generic drug companies can instead file an Abbreviated New Drug Application

  (“ANDA”). A generic drug company that submits an ANDA generally is not required to include

  clinical trial data to establish the safety and efficacy of the drug. Instead, the generic drug company

  can “piggy-back” on the safety and efficacy data supplied by the original NDA holder for a given

  drug.

          68.       Generic drugs must meet certain bioequivalence and pharmaceutical equivalence

  standards set by the FDA to ensure that the generic drug is essentially an exact substitute for the

  brand-name drug. To receive FDA approval through an ANDA, a generic drug must contain the

  same active ingredient, in the same dosage form, in the same strength, to be bioequivalent to the

  reference listed drug (i.e., the original brand-name version approved by the FDA through an NDA).

  The FDA uses a review process to ensure that brand-name and generic drugs that are rated


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  “therapeutically equivalent” have the same clinical effect and safety profile. According to the

  FDA: “[p]roducts classified as therapeutically equivalent can be substituted with the full

  expectation that the substituted product will produce the same clinical effect and safety profile as

  the prescribed product.”8 The FDA assigns generics that are deemed to be therapeutically

  equivalent to their brand-name counterparts an “AB” rating. Even drugs that are bioequivalent,

  but that do not share the same dosage form, are not AB-rated.

           69.   The Hatch-Waxman Act also provides a 180-day exclusivity period for the first

  generic drug company that files an ANDA and simultaneously challenges the validity of the patent

  for a brand-name drug. This exclusivity period, which allows the generic drug company to market

  its generic version free from competition, is intended to spur generic drug companies to provide

  alternatives to brand-name drugs. When generic drugs enter the market, they are often priced well

  below the brand-name drugs and quickly take a large market share from the brand-name drug

  company. The first generic drug will generally be priced 15% to 20% below the brand-name drug.

  Once the exclusivity period ends and more generic versions enter the market, the price of the

  generic drugs continues to fall and their combined share of the market for that drug, relative to the

  brand-name equivalent, continues to grow. The price of the generic versions of a given drug can

  fall to as little as 10% to 20% of the original price for the brand-name drug. This competition

  allows purchasers to buy the generic equivalent of a brand-name drug at substantially lower prices.

  As Stephen W. Schondelmeyer, Professor of Pharmaceutical Care & Health Systems at the




  8
          See Approved Drug Products with Therapeutic Equivalence Evaluations (“Orange Book”),
      th
  37 Ed., 2017, U.S. Department of Health and Human Services – Food and Drug Administration,
  at vii.

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  University of Minnesota, College of Pharmacy, explained in his testimony before the Senate HELP

  Committee:

         The Congressional Budget Office has credited the Hatch-Waxman Act and,
         importantly, the process for easy and routine A-rated generic substitution by
         pharmacists with providing meaningful economic competition from generic drugs,
         and with achieving billions of dollars of savings for drug purchasers such as
         consumers and employers.9

         70.     The price differential between a brand-name drug and the generic equivalents, and

  the proportion of the market captured by the brand-name versus the generics, generally follows a

  predictable pattern. Specifically, as mentioned above, the first generic to enter the market is

  generally priced 15% to 20% lower than the brand-name drug. As more approved generics enter

  the market, the price of the generics generally declines in both absolute terms and in relation to the

  brand-name drug for around five years. Eventually, the price of the generic drugs reaches an

  equilibrium price point, at or close to the manufacturers’ marginal production costs, resulting in

  significant savings for consumers, insurers, and employers.

         71.     Between 2005 and 2014, generic drugs saved the U.S. healthcare system more than

  $1.6 trillion dollars. However, the cost savings engendered by generic drugs has been eroded in

  recent years by steep price spikes in certain generic drugs. A December 2016 analysis conducted

  by the U.S. Government Accountability Office found that more than 300 of the 1,441 established

  generic drugs examined by the study had one or more instances of “extraordinary price

  increases”—i.e., “periods of prices at least doubling over the five-year study period.” In 2014




  9
         Why Are Some Generic Drugs Skyrocketing in Price?: Hearing Before the S. Comm. on
  Health, Education, Labor and Pensions, 113th Cong. (Nov. 20, 2014) (Statement by Stephen W.
  Schondelmeyer)

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  alone, more than 100 generic drugs experienced these extraordinary price increases. For 48 of

  these 100 drugs, the price increases were 500% or higher.

          72.     The Maximum Allowable Cost (“MAC”) pricing regime also serves to control drug

  prices. Under this regime, individual States or pharmacy benefits managers (“PBMs”)—third

  party administrators of prescription drug programs—establish an MAC for drug products using a

  variety of different inputs and formulas. If the cost for a pharmacy to dispense a given drug

  exceeds the MAC, the pharmacy will either opt to substitute a less expensive version, if available,

  or sell the drug at a loss to service the patient. This MAC framework incentivizes pharmacies to

  fill prescriptions with the least expensive, therapeutically equivalent version of a drug to maximize

  their potential profits.

          B.      The Distribution and Manufacture of Generic Drugs

          73.     Unlike brand-name drug manufacturers, which develop novel drug compounds and

  spend years conducting clinical trials and efficacy studies to obtain NDA approval, generic drug

  manufacturers typically do not develop new drugs. Some generic drugs are manufactured by

  companies that also produce brand-name drugs, while others are manufactured by companies that

  exclusively produce generic drugs. Drugs sold in the U.S. may be manufactured domestically or

  abroad and many of the manufacturers that produce generic drugs for the U.S. market are foreign

  companies or are owned by foreign companies. For example, Defendant Allergan has its global

  headquarters in Dublin, Ireland.

          74.     Generic drug manufacturers also control the sale of drugs to many different drug

  wholesalers, distributors, retailers, and group purchasing organizations.         Wholesalers and

  distributors purchase drugs from the manufacturers and distribute them to customers such as

  pharmacies, hospitals, and medical facilities. Some of the larger wholesalers and distributors of

  generic drugs include Cardinal Health, Inc. and AmerisourceBergen Corporation. Retailers of

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  generic drugs include retail or supermarket chain pharmacies (such as Walgreens and Walmart),

  mail-order or specialty pharmacies, hospitals, healthcare plans, and group purchasing

  organizations (“GPOs”). GPOs are membership-based entities that negotiate with manufacturers,

  wholesalers, and distributors on behalf of a group of purchasers to obtain optimal prices and terms

  for their members. GPOs can represent retail, governmental or healthcare groups. Some of the

  larger GPOs include Vizient and Premier, Inc.

         75.     Because the various generic drugs produced by different drug manufacturers are all

  therapeutically equivalent, the competition between manufacturers to sell generic drugs to

  wholesalers, distributors, retailers, and GPOs is largely based on each manufacturer’s price and

  ability to provide supply for that drug.         Allergan and the Co-Conspirators are all drug

  manufacturers and/or suppliers such that they should be competing directly with each other for the

  sale of the generic drugs discussed herein to U.S. consumers.

         C.      The Markets for Allergan’s Generic Drugs Were Susceptible to Price-
                 Fixing

         76.     As demonstrated by publicly available data, the markets for the generic drugs

  discussed below were highly susceptible to cartelization by Allergan and the Co-Conspirators.

  Factors that indicate market susceptibility to collusion include: (i) a high degree of industry

  concentration; (ii) significant barriers to entry; (iii) the lack of available substitutes for the goods

  involved; (iv) a standardized product with a high degree with interchangeability between the goods

  of the cartel participants; (v) absence of a competitive fringe of sellers; and (vi) inter-competitor

  contacts and communications. As discussed in more detail below, each of these factors was present

  in the markets for certain dosages of Propranolol, Ursodiol, Doxycycline, and Desonide.




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                 1.      Market Concentration

         77.     Industry or market concentration is a function of the number of firms in a given

  market and their respective market shares. Market concentration is commonly measured through

  the Herfindahl-Hirschman Index (“HHI”), which is calculated by squaring the market share of

  each firm competing in the market and then summing the resulting numbers. Through this

  calculation, the HHI factors in the relative size distribution of the firms in a given market. The

  HHI approaches zero when a market is occupied by a large number of firms of relatively equal

  size and reaches the 10,000 point maximum when a market is controlled by a single firm. The

  HHI increases as (i) the number of firms in a given market decreases; and (ii) the disparity in size

  between those firms increases.

         78.     As noted by the DOJ, markets in which the HHI is between 1,500 and 2,500 points

  are generally considered moderately concentrated, and markets in which the HHI exceeds 2,500

  points are considered highly concentrated. A more highly concentrated market is more susceptible

  to anti-competitive behavior, such as price-fixing. This increased susceptibility is due, in part, to

  the relative ease with which co-conspirators can monitor each other’s pricing behavior to ensure

  adherence to the price-fixing agreement, especially when only two or three competitors have the

  majority of the market share. In addition, in a highly concentrated market, there is a lower

  probability that each firm has different production costs, which facilitates the formation and

  maintenance of a price-fixing scheme.

                 2.      Barriers to Entry

         79.     Barriers to entry into a market can delay, diminish or even prevent the attraction

  and arrival of new market participants, which is the usual mechanism for checking the market

  power—i.e., the ability to set prices above market costs—of existing participants. Entry barriers

  include things like: trade secrets, patents, licenses, capital outlays required to start a new business,

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  pricing elasticity, and difficulties buyers may have in changing suppliers. If there is no significant

  threat that new firms will enter a market, a single firm with a dominant market share—or a

  combination of firms with a significant percentage of the market—is able to engage in anti-

  competitive conduct, such as restricting output and raising prices to the detriment of consumers.

  Barriers to entry in the markets for generic drugs include, among other things, high manufacturing

  costs and regulatory and intellectual property requirements. For example, the requirement that

  companies file an ANDA and receive FDA approval can delay entry into the market by an average

  of thirty-six months.

                  3.      Lack of Available Substitutes

         80.      The presence of alternative products that can easily be substituted for a given

  product serves to undermine anti-competitive behavior. Conversely, the absence of available

  substitutes increases the susceptibility of a market to anti-competitive behavior because consumers

  have no alternative but to purchase the product, notwithstanding any price increases. In the context

  of prescription drugs, a pharmacist presented with a prescription for a given drug can only

  substitute another drug if that drug has an “AB” rating. Only generic and brand-name versions of

  a drug are AB-rated to one another. Therefore, a pharmacist can only fill a prescription for a given

  drug with the brand-name version or one of the AB-rated generic versions and cannot substitute

  another drug.

                  4.      Standardized Product with High Degree of Interchangeability

         81.      A standardized, commodity-like product with a high degree of interchangeability

  between the goods of the participants in an anti-competitive conspiracy also increases the

  susceptibility of a given market to anti-competitive conduct. By their very nature, all generic

  versions of a given drug are interchangeable, as every generic version of a drug must be

  bioequivalent to the original, brand-name drug.

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                  5.     Absence of Competitive Sellers

            82.   The presence of firms that manufacture the same product but are not part of the

  anti-competitive conspiracy—also called fringe sellers—can erode the conspirators’ market share

  by offering the product at lower, more competitive prices. This reduces the conspirators’ revenue

  and makes it more difficult to sustain the conspiracy. By contrast, the absence of fringe sellers

  can increase the susceptibility of a given market to anti-competitive conduct.

                  6.     Inter-competitor Contacts and Communications

                         (a)    Trade Association Events

            83.   Representatives from Allergan and the Co-Conspirators routinely attended

  conferences, meetings, and trade shows sponsored by various pharmaceutical trade associations.

  These events provided frequent opportunities for individuals from Allergan and the Co-

  Conspirators to interact with each other and discuss their respective businesses and customers.

  Social events and other recreational activities—including golf outings, lunches, cocktail parties,

  and dinners—were also organized in conjunction with the trade association events and provided

  further opportunities for representatives from the drug manufacturers to meet outside of the

  traditional business setting. These trade associations and the related formal and informal events,

  discussed in more detail below, provided representatives from Allergan and the Co-Conspirators

  with ample opportunities to meet, discuss, devise, and implement the price-fixing schemes set forth

  herein.

            84.   The Allergan representatives who attended the majority of these trade meetings

  were Andrew Boyer (“Boyer”), Senior Vice President of Generic Sales, Marketing, and National

  Accounts, Marc Falkin (“Falkin”), Vice President of Marketing, Pricing, and Contracts, and

  Richard Rogerson (“Rogerson”), Executive Director of Pricing & Business Analytics. Boyer,



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  Falkin and Rogerson comprised the management team for Allergan’s generics business during the

  Class Period.

          85.     Confidential Witness No. 1 (“CW1”), an Associate Director of Finance at Allergan

  from March 2011 to March 2016, confirmed that Boyer was responsible for the Company’s pricing

  decisions and that Falkin and Rogerson were members of Boyer’s management team. According

  to CW1, Boyer ran the generics business at Allergan and made all decisions regarding generic

  drugs, including pricing decisions.

          86.     Confidential Witness No. 2 (“CW2”), a management-level marketing employee at

  Allergan between 2013 and 2016, corroborated CW1’s account. CW2 stated that Allergan’s

  Generic Pricing Department was headed by Boyer. Falkin reported to Boyer, and Rogerson

  reported to Falkin. CW2 further stated that Rogerson “blessed” all pricing decisions and his team

  maintained all of the pricing models. All generic pricing was generated using the models

  maintained by Rogerson’s team, but Boyer “had trumping ability” over both Falkin and Rogerson

  in terms of final pricing decisions. CW2 also indicated that Boyer, Falkin and Rogerson frequently

  attended industry events, such as meetings of the National Association of Chain Drug Stores

  (“NACDS”), and socialized with competitors at these events.

          87.     CW2 further stated that Rogerson micromanaged the pricing system and ensured

  that it was kept compartmentalized. Specifically, Rogerson and the head of marketing refused to

  allow CW2’s direct report to have access to IMS pricing data for Allergan and its competitors.10

          88.     The generics management team of Boyer, Falkin and Rogerson reported to

  Olafsson, as President of Actavis Pharma, the Allergan segment that included the Company’s



  10
          IMS pricing data contains the average monthly price by manufacturer for a given generic
  drug.

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  generics business. Olafsson in turn reported to CEO Bisaro. When Olafsson left the Company,

  Boyer, Falkin and Rogerson began reporting to Buchen, who reported to Bisaro and then Saunders

  when Bisaro departed in July 2014.

                              (i)   The Generic Pharmaceutical Association

         89.     The Association for Accessible Medicines (formerly known as the Generic

  Pharmaceutical Association) (“GPhA”) is, according to its website, “the national leading trade

  association for manufacturers and distributors of generic prescription drugs, manufacturers of bulk

  active pharmaceutical chemicals, and suppliers of other goods and services to the generic

  industry.”   The GPhA was formed in 2001 following the merger of three industry trade

  organizations: the Generic Pharmaceutical Industry Association, the National Association of

  Pharmaceutical Manufacturers, and the National Pharmaceutical Alliance.

         90.     In describing its members, the GPhA’s website states: “GPhA member companies

  supply approximately 90 percent of the generic prescription drugs dispensed in the U.S. each year.

  Our membership includes the world’s largest generic finished dose manufacturers and active

  pharmaceutical ingredient suppliers.” The GPhA’s website further states: “By becoming part of

  GPhA, you can participate in shaping the policies that govern the generic industry and help secure

  the future of this vital pharmaceutical market segment. In addition, GPhA provides valuable

  membership services, such as business networking opportunities, educational forums, access to

  lawmakers and regulators, and peer-to-peer connections.”

         91.     Senior executives and corporate officers from Allergan and the Co-Conspirators

  served on the GPhA’s Board of Directors before the Class Period. For example, the 2012 Board

  of Directors included Tony Mauro, President of Mylan North America; Douglas Boothe

  (“Boothe”), CEO of Actavis; and Jeffrey Glazer, CEO of Heritage. The 2013 Board of Directors



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  included Tony Mauro, President of Mylan North America; Jeffrey Glazer, President and CEO of

  Heritage; and Charlie Mayr, Chief Communications Officer at Actavis.

         92.      Representatives from Allergan and the Co-Conspirators regularly attended GPhA

  meetings before and during the Class Period, including the following meetings:

         •     October 1-3, 2012 GPhA 2012 Fall Technical Conference in Bethesda,
               Maryland, attended by representatives from Allergan, Heritage, Impax,
               Lannett, Mylan, Perrigo, Sun11 and Taro.

         •     February 20-22, 2013 GPhA 2013 Annual Meeting in Orlando, Florida,
               attended by representatives from Allergan (including Olafsson), Heritage,
               Impax, Mylan, Perrigo, Taro, and URL.

         •     June 4-5, 2013 GPhA 2013 CMC Workshop in Bethesda, Maryland, attended
               by representatives from Allergan, Heritage, Impax, Lannett, Mylan, Perrigo,
               Sun, and Taro.

         •     October 28-30, 2013 GPhA 2013 Fall Technical Conference in Bethesda,
               Maryland, attended by representatives from Allergan, Heritage, Impax,
               Lannett, Mylan, Perrigo, Sun, and Taro.

         •     December 9-11, 2013 16th Annual IGPA Conference in Brussels, Belgium,
               attended by representatives from Allergan, Hikma12, and Mylan.

         •     February 19-21, 2014 GPhA 2014 Annual Meeting in Orlando, Florida,
               attended by representatives from Allergan, Epic, Heritage, Impax, Mylan,
               Perrigo, Sun, and Taro.

         •     June 3-4, 2014 GPhA 2014 CMC Workshop in Bethesda, Maryland, attended
               by representatives from Allergan, Heritage, Impax, Lannett, Mylan, Perrigo,
               Sun, and Taro.

         •     October 27-29, 2014 GPhA 2014 Fall Technical Conference in Bethesda,
               Maryland, attended by representatives from Allergan, Heritage, Lannett,
               Mylan, Perrigo, Sun, Taro, and West-Ward.

         •     November 19-21 2014, 17th Annual IGPA Conference in Miami, Florida,
               attended by representatives from Allergan (including Buchen), Hikma, and
               Mylan.


  11
         Sun purchased URL from Takeda in 2012, and Mutual Pharma is a subsidiary of URL.
  12
         Hikma Pharmaceuticals PLC is the parent company of West-Ward.

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         •     February 9-11, 2015 GPhA 2015 Annual Meeting in Miami Beach, Florida,
               attended by representatives from Allergan, Epic, Heritage, Mylan, Perrigo,
               Taro, and West-Ward.

         •     June 9-10, 2015 GPhA 2015 CMC Workshop in Bethesda, Maryland, attended
               by representatives from Allergan, Heritage, Impax, Lannett, Mylan, Perrigo,
               Sun, Taro, and West-Ward.

         •     November 2-4, 2015 GPhA 2015 Fall Technical Conference in Bethesda,
               Maryland, attended by representatives from Allergan, Heritage, Impax,
               Lannett, Mylan, Perrigo, Sun, Taro, and West-Ward.

                             (ii)   The Healthcare Distribution Alliance

         93.      The Healthcare Distribution Alliance (“HDA”) was originally founded as the

  Western Wholesale Druggists’ Association (“WWDA”) in 1876. The first WWDA meeting was

  called to “remedy the existing evils in the wholesale drug business, and enable the merchants to

  carry on business on a more profitable basis.” After a series of name changes, the association

  became known as the HDA. As the HDA’s website explains, the association “represents 34

  distribution companies—national, regional, and specialty—as well as more than 145 manufacturer

  and more than 50 service provider/international members, respectively.” The HDA’s mission “is

  to protect patient safety and access to medicines through safe and efficient distribution; advocate

  for standards, public policies and business processes that enhance the safety, efficiency and value

  of the healthcare supply chain; and, create and exchange industry knowledge and best practices.”

         94.      The HDA’s website states that HDA “membership provides access to networking

  opportunities, research, member-developed education and resources for the healthcare supply

  chain.” The association’s membership includes domestic and international drug distributors, drug

  manufacturers, service providers, and health, beauty, and wellness/consumer manufacturers.

         95.      The HDA describes its Business and Leadership Conference (“BLC”) as “the

  healthcare distribution industry’s signature annual conference, developed by and for healthcare

  supply chain leaders and innovators.” The HDA further states: “Exclusive to HDA member

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  companies, the conference brings together high-level executives, thought leaders and influential

  managers from across the healthcare supply chain to hold strategic business discussions on the

  most pressing industry issues. This forum offers unmatched opportunities to network with your

  peers and trading partners at all levels of the healthcare distribution industry.” The BLC events

  provided Allergan and the Co-Conspirators with opportunities to meet one-on-one and engage in

  collusive conduct.

         96.     Representatives from Allergan and the Co-Conspirators attended the BLC events

  set forth below, among others:

     Date       Meeting       Allergan Attendees                 Co-Conspirator Attendees
  June 1-4,    HDA 2014     Anthony Giannone            Mylan: Richard Isaac (Sr. Manager, Strategic
  2014         BLC in       (Executive Director,        Accounts); Lance Wyatt (Director, National
               Phoenix,     Sales); Marc Falkin (Sr.    Accounts)
               AZ           VP Sales, U.S.              Heritage: Neal O’Mara (Sr. Director,
                            Generics)                   National Accounts); Anne Sather (Sr.
                                                        Director, National Accounts)
  June 7-10,   HDA 2015     Andrew Boyer (Sr. VP,       Mylan: Todd Bebout (VP NA Supply Chain
  2015         BLC in San   Generic Sales,              Management); Janet Bell (Director, National
               Antonio,     Marketing, National         Accounts); Richard Isaac (Sr. Manager,
               TX           Accounts); Marc Falkin      Strategic Accounts); Stephen Krinke
                            (VP Marketing, Pricing      (National Account Manager); Robert O’Neill
                            and Contracts); Richard     (Head of Sales Generic, NA); Sean Reilly
                            Rogerson (Executive         (National Account Manager); John Shane
                            Director Pricing &          (Trade Relations); Erik Williams (VP NA
                            Business Analytics)         Pricing & Contracts); Lance Wyatt (Director,
                                                        National Accounts)
                                                        Heritage: Jeffrey Glazer (CEO and
                                                        Chairman); Jason Malek (Sr. VP, Commercial
                                                        Operations); Neal O’Mara (Sr. Director,
                                                        National Accounts); Anne Sather (Sr.
                                                        Director, National Accounts); Matthew
                                                        Edelson (Associate Director, National
                                                        Accounts)

                            (iii)   The National Association of Chain Drug Stores

         97.     According to its website, the NACDS states that its four strategic goals are to: (i)

  “Foster an advantageous business and political environment in which NACDS chain member


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  companies are better able to achieve their business objectives”; (ii) “Promote the role and value of

  chain community pharmacy as an integral component of the healthcare system, thus helping to

  preserve its viability”; (iii) “Provide effective channels of communication, involvement and

  forums for members and other stakeholders”; and (iv) “Ensure that NACDS internally operates as

  a cutting edge association, effectively meeting the needs of its membership.”

         98.     The NACDS describes the membership benefits for suppliers as including: “Access

  to the NACDS Annual Meeting, NACDS Regional Chain Conference and NACDS Total Store

  Expo”; “Online Membership Directory listing and access chain member, sales and marketing, peer,

  and other B2B solution contacts”; and “Popular ‘Meet the Retailer’ and ‘Meet the Market’

  programming at NACDS events with preparatory webinars throughout the meeting cycle.” The

  NACDS lists as another benefit for supplier members, “NACDS-Nielsen Company Syndicated

  Data Program,” which it describes as providing “syndicated data to help those members gain a

  better understanding of the competitive marketplace and to position their products accordingly.”

         99.     The NACDS holds several events including an Annual Meeting and Total Store

  Expo. The NACDS describes its Annual Meeting as association’s “signature event,” highlighting,

  “the results . . . relationships . . . [and] member service.” According to the NACDS’s website,

  “[p]articipants at the Annual Meeting include Retail Chairmen, CEOs, Presidents, and Senior Vice

  Presidents of Marketing, Merchandising, Operations, and Pharmacy and their executive-level

  counterparts and decision makers from supplier companies.” In addition, the NACDS represents

  that the “Annual Meeting provides numerous opportunities to meet and discuss strategic issues

  with key trading partners.”

         100.    The NACDS describes its Total Store Expo as “the industry’s largest gathering of

  its most influential leaders.” The NACDS further states: “It is a combination of both strategic and



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  tactical business meetings between existing and new trading partners and is attended by industry

  decision makers. It will give you and your company a unique opportunity to gain new insights into

  today’s evolving marketplace and set your course for the future.”

           101.     The NACDS describes the Foundation Dinner as “a premier event that brings

  together the NACDS Board of Directors and senior executives of NACDS Chain and Associate

  Members, as well as many friends.”

           102.     Before and during the Class Period, representatives from Allergan and the Co-

  Conspirators attended the NACDS events, which provided opportunities for these representatives

  to meet in-person, in furtherance of the collusive conduct alleged herein. Representatives from

  Allergan and the Co-Conspirators attended the NACDS events set forth below, among others:

     Date          Meeting       Allergan Attendees              Co-Conspirator Attendees
  April 20-       NACDS        Paul Bisaro (Board       Mylan: Joe Duda (President); Tony Mauro
  23, 2013        2013         Member); Andrew          (Chief Commercial Officer); Robert Potter
                  Annual       Boyer (Sr. VP, Generic   (Sr. VP of North America National Accounts
                  Meeting in   Sales, Marketing,        and Channel Development); Jeffrey May (VP
                  Palm         National Accounts);      of North America Product Strategy); Jim
                  Beach, FL    Michael Reed             Nesta (VP of Sales)
                               (Executive Director of
                               Trade Relations);
                               Michael Baker
                               (Executive VP of Trade
                               Sales and
                               Development); Paul
                               Reed (Sr. Director of
                               Trade Sales and
                               Development); Robert
                               Stewart (Chief
                               Operating Officer)
  August          NACDS        Andrew Boyer (Sr. VP,    Mylan: Mike Aigner (Director National
  10-13,          2013 Total   Generic Sales,           Accounts); Kevin McElfresh (Executive
  2013            Store Expo   Marketing, National      Director National Accounts) Joe Duda
                  in Las       Accounts); Marc Falkin   (President); Robert Potter (Sr. VP North
                  Vegas, NV    (VP Marketing, Pricing   America National Accounts and Channel



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    Date       Meeting        Allergan Attendees                Co-Conspirator Attendees
                            and Contracts); Richard   Development); Rob O’Neill (Head of Sales);
                            Rogerson (Executive       Lance Wyatt (Director National Accounts)
                            Director, Pricing &       Heritage: Jeffrey Glazer (CEO and
                            Business Analytics)       Chairman); Matthew Edelson (Sr. Director of
                                                      Sales); Jason Malek (Sr. VP, Commercial
                                                      Operations); Gina Gramuglia (Commercial
                                                      Operations); Neal O’Mara (Sr. Director,
                                                      National Accounts); Anne Sather (Sr.
                                                      Director, National Accounts)
  December    NACDS         Andrew Boyer (Sr. VP,     Mylan: Joe Duda (President); Tony Mauro
  3, 2013     2013 NYC      Generic Sales,            (Chief Operating Officer); Robert Potter (Sr.
              Week and      Marketing, National       VP of North America National Accounts and
              Annual        Accounts); Marc Falkin    Channel Development); Rob O’Neill (Head of
              Foundation    (VP Marketing, Pricing    Sales)
              Dinner in     and Contracts)
              New York,
              NY
  April 26-   NACDS         Andrew Boyer (Sr. VP,     Mylan: Joe Duda (President); Tony Mauro
  29, 2014    2014          Generic Sales,            (President); Robert Potter (Sr. VP of North
              Annual        Marketing, National       America National Accounts and Channel
              Meeting in    Accounts); Marc Falkin    Development); Rob O’Neill (Head of Sales)
              Scottsdale,   (VP Marketing, Pricing
              AZ            and Contracts)            Heritage: Jeffrey Glazer (CEO and
                                                      Chairman)
  August      NACDS         Andrew Boyer (Sr. VP,     Mylan: Joe Duda (President); Tony Mauro
  23-26,      2014 Total    Generic Sales,            (President); Robert Potter (Sr. VP of North
  2014        Store Expo    Marketing, National       America National Accounts and Channel
              in Boston,    Accounts); Marc Falkin    Manager); Mike Aigner (Director, National
              MA            (VP Marketing, Pricing    Accounts); Kevin McElfresh (Executive
                            and Contracts); Richard   Director, National Accounts); Gary Tighe
                            Rogerson (Executive       (Director, National Accounts); Lance Wyatt
                            Director of Pricing &     (Director, National Accounts)
                            Business Analytics)       Heritage: Jeffrey Glazer (CEO and
                                                      Chairman); Jason Malek (Sr. VP, Commercial
                                                      Operations); Heather Beem (National
                                                      Account Manager, Institutional); Katie
                                                      Brodowski (Associate Director Institutional
                                                      Sales); Matthew Edelson (Senior Director of
                                                      Sales); Gina Gramuglia (Commercial
                                                      Operations); Neal O’Mara (Sr. Director,
                                                      National Accounts); Anne Sather (Sr.
                                                      Director, National Accounts)

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     Date          Meeting         Allergan Attendees                Co-Conspirator Attendees
  December        NACDS          Brent Saunders            Mylan: Mike Aigner (Director National
  3, 2014         2014 NYC       (President, CEO and       Accounts); Tony Mauro (Chief Operating
                  Week and       Chairman); Andrew         Officer); Robert Potter (Sr. VP of North
                  Annual         Boyer (Sr. VP, Generic    America National Accounts and Channel
                  Foundation     Sales, Marketing,         Development)
                  Dinner in      National Accounts);
                  New York,      Marc Falkin (VP
                  NY             Marketing, Pricing and
                                 Contracts)
  April 25-       NACDS          Andrew Boyer (Sr. VP,     Mylan: Tony Mauro (President); Robert
  28, 2015        2015           Generic Sales,            Potter (Sr. VP of North America National
                  Annual         Marketing, National       Accounts); Rob O’Neill (Head of Sales);
                  Meeting in     Accounts); Marc Falkin    Gary Tighe (Director National Accounts)
                  Palm           (VP Marketing, Pricing
                  Beach, FL      and Contracts)
  August          NACDS          Andrew Boyer (Sr. VP,     Mylan: Mike Aigner (Director National
  22-25,          2015 Total     Generic Sales,            Accounts); Tony Mauro (President); Robert
  2015            Store Expo     Marketing, National       Potter (Sr. VP of North America National
                  in Denver,     Accounts); Marc Falkin    Accounts); Kevin McElfresh (Executive
                  CO             (VP Marketing, Pricing    Director, National Accounts); Robert O’Neill
                                 and Contracts); Richard   (Head of Sales)
                                 Rogerson (Executive       Heritage: Jeffrey Glazer (CEO and
                                 Director Pricing &        Chairman); Jason Malek (Sr. VP, Commercial
                                 Business Analytics)       Operations); Neal O’Mara (Sr. Director,
                                                           National Accounts); Anne Sather (Sr.
                                                           Director, National Accounts); Matthew
                                                           Edelson (Sr. Director of Sales); Gina
                                                           Gramuglia (Commercial Operations)


           103.     In addition, representatives from Allergan and the Co-Conspirators also attended

  the NACDS 2016 Total Store Expo on August 19-22, 2016 in San Diego, California.

                           (b)      Informal Events and Meeting Also Facilitated Allergan’s
                                    Price-Fixing Schemes

           104.     In addition to the conferences and other events sponsored by pharmaceutical trade

  associations, representatives from Allergan and the Co-Conspirators were also able to participate

  in informal face-to-face meetings in furtherance of their price-fixing schemes.



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         105.    In fact, senior executives from these generic drug manufacturers periodically got

  together for “industry dinners.” One such dinner occurred at a steakhouse in Bridgewater, New

  Jersey in January 2014, when the prices of many generic drugs were soaring. This dinner was

  attended by at least thirteen high-ranking executives, including CEOs, Presidents, and Senior Vice

  Presidents from various generic drug manufacturers including Allergan, its co-conspirator

  Aurobindo, and other generic manufacturers, including Dr. Reddy’s, Lannett and Sun.

         D.      Propranolol

         106.    Discovered in the 1960s, Propranolol is a beta blocker used to treat high blood

  pressure and certain types of irregular heart rates and to prevent migraines as well as further heart

  problems in individuals who suffered a previous heart attack or have angina. Beta blockers work

  by blocking the effects of epinephrine, causing a patient’s heart to beat slower and with less force,

  thereby reducing blood pressure. Propranolol is included as a preventative anti-migraine medicine

  on the Core List within the World Health Organization’s (“WHO”) Model List of Essential

  Medicines—a list “of minimum medicine needs for a basic health-care system, listing the most

  efficacious, safe, and cost-effective medicines for priority conditions.”

                 1.      The Co-Conspirators’ Price Hikes

         107.    Allergan and the Co-Conspirators engaged in anti-competitive conduct by

  colluding to improperly raise and maintain the prices of Propranolol, beginning in late 2014 and

  into 2015. For example, as demonstrated by the charts and graphs below, Allergan, Heritage,

  Impax, and Mylan raised the price of generic Propranolol HCL 10mg, 20mg, and 80mg tablets by

  as much as 1,200% between December 2014 and December 2015.

         108.    The graph below shows the average monthly price per unit of Propranolol HCL

  10mg tablets manufactured by Allergan, Heritage, Impax, and Mylan from December 2010 to

  November 2016:

                                                   40
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        109.   The table below shows the average monthly price per unit of Propranolol HCL

  10mg tablets manufactured by Actavis, Heritage, Impax, and Mylan between December 2014 and

  November 2015:




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                                                Propranolol HCL 10mg Tablets

           Dec.      Jan.    Feb.     March    April     May     June     July     Aug.     Sept.    Oct.     Nov.
           2014      2015    2015     2015     2015      2015    2015     2015     2015     2015     2015     2015
ACTAVIS    $0.013   $0.017   $0.038   $0.062   $0.061   $0.092   $0.110   $0.150   $0.169   $0.168   $0.171   $0.172
HERITAGE   $0.019   $0.022   $0.038   $0.057   $0.039   $0.037   $0.111   $0.025   $0.022   $0.045   $0.027   $0.027
 IMPAX     $0.020   $0.027   $0.135   $0.160   $0.200   $0.147   $0.144   $0.128   $0.190   $0.193   $0.197   $0.201
 MYLAN     $0.021   $0.030   $0.031   $0.032   $0.033   $0.032   $0.039   $0.064   $0.131   $0.125   $0.147   $0.147


            110.     This drastic increase in the price of Propranolol HCL 10mg tablets occurred shortly

     after and/or in conjunction with the following trade association meetings:

            •     GPhA 2015 Annual Meeting in February 2015 attended by representatives from
                  Allergan, Heritage, Mylan, and other Co-Conspirators (¶ 92);

            •     NACDS 2015 Annual Meeting in April 2015 attended by representatives from
                  Allergan (including Boyer and Falkin) and representatives from Mylan, along
                  with representatives from other Co-Conspirators (¶¶ 102-03);

            •     GPhA 2015 CMC Workshop in June 2015 attended by representatives from
                  Allergan, Heritage, Impax, Mylan, and other Co-Conspirators (¶ 92);

            •     HDA 2015 BLC in June 2015 attended by representatives from Allergan
                  (including Boyer, Falkin, and Rogerson) and representatives from Mylan and
                  Heritage, along with representatives from other Co-Conspirators (¶ 96); and

            •     NACDS 2015 Total Store Expo in August 2015 attended by representatives
                  from Allergan (including Boyer, Falkin, and Rogerson) and representatives
                  from Mylan and Heritage, along with representatives from other Co-
                  Conspirators (¶¶ 102-03).

            111.     The graph below shows the average monthly price per unit of Propranolol HCL

     20mg tablets manufactured by Allergan, Heritage, Impax, and Mylan from December 2010 to

     November 2016:




                                                        42
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            112.   The table below shows the average monthly price per unit of Propranolol HCL

      20mg tablets manufactured by Actavis, Heritage, Impax, and Mylan between December 2014 and

      November 2015:

                                               Propranolol HCL 20mg Tablets

          Dec.      Jan.     Feb.    March     April    May      June     July     Aug.     Sept.    Oct.     Nov.
          2014      2015     2015     2015     2015     2015     2015     2015     2015     2015     2015     2015
ACTAVIS  $0.015    $0.020   $0.055   $0.094   $0.082   $0.134   $0.145   $0.194   $0.233   $0.232   $0.235   $0.232
HERITAGE $0.021    $0.024   $0.046   $0.100   $0.041   $0.124   $0.185   $0.050   $0.028   $0.025   $0.031   $0.026
IMPAX    $0.025    $0.032   $0.191   $0.198   $0.201   $0.194   $0.203   $0.195   $0.226   $0.259   $0.266   $0.263
MYLAN    $0.038    $0.038   $0.036   $0.038   $0.037   $0.038   $0.038   $0.062   $0.173   $0.175   $0.186   $0.239




                                                       43
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         113.    This drastic increase in the price of Propranolol HCL 20mg tablets occurred shortly

  after and/or in conjunction with the following trade association meetings:

         •   GPhA 2015 Annual Meeting in February 2015 attended by representatives from
             Allergan, Heritage, Mylan, and other Co-Conspirators (¶ 92);

         •   NACDS 2015 Annual Meeting in April 2015 attended by representatives from
             Allergan (including Boyer and Falkin) and representatives from Mylan, along
             with representatives from other Co-Conspirators (¶ 102);

         •   GPhA 2015 CMC Workshop in June 2015 attended by representatives from
             Allergan, Heritage, Impax, Mylan, and other Co-Conspirators (¶ 92);

         •   HDA 2015 BLC in June 2015 attended by representatives from Allergan
             (including Boyer, Falkin, and Rogerson) and representatives from Mylan and
             Heritage, along with representatives from other Co-Conspirators (¶ 96); and

         •   NACDS 2015 Total Store Expo in August 2015 attended by representatives
             from Allergan (including Boyer, Falkin, and Rogerson) and representatives
             from Mylan and Heritage, along with representatives from other Co-
             Conspirators (¶102).

         114.    The graph below shows the average monthly price per unit of Propranolol HCL

  80mg tablets manufactured by Allergan, Heritage, Impax, and Mylan from December 2010 to

  November 2016:




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            115.    The table below shows the average monthly price per unit of Propranolol HCL

     80mg tablets manufactured by Actavis, Heritage, Impax, and Mylan between December 2014 and

     November 2015:

                                                Propranolol HCL 80mg Tablets

           Dec.     Jan.     Feb.     March    April     May     June     July     Aug.     Sept.    Oct.     Nov.
           2014     2015     2015     2015     2015      2015    2015     2015     2015     2015     2015     2015
ACTAVIS    $0.025   $0.036   $0.089   $0.159   $0.170   $0.295   $0.223   $0.354   $0.455   $0.455   $0.457   $0.465
HERITAGE   $0.040   $0.047   $0.100   $0.121   $0.057   $0.098   $0.101   $0.044   $0.041   $0.026   $0.018   $0.039
IMPAX      $0.046   $0.054   $0.307   $0.346   $0.340   $0.401   $0.431   $0.393   $0.453   $0.508   $0.501   $0.507
MYLAN      $0.055   $0.057   $0.058   $0.056   $0.058   $0.061   $0.054   $0.069   $0.385   $0.379   $0.454   $0.436




                                                        45
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         116.    This drastic increase in the price of Propranolol HCL 80mg tablets occurred shortly

  after and/or in conjunction with the following trade association meetings:

         •   GPhA 2015 Annual Meeting in February 2015 attended by representatives from
             Allergan, Heritage, Mylan, and other Co-Conspirators (¶ 92);

         •   NACDS 2015 Annual Meeting in April 2015 attended by representatives from
             Allergan (including Boyer and Falkin) and representatives from Mylan, along
             with representatives from other Co-Conspirators (¶¶ 102-03);

         •   GPhA 2015 CMC Workshop in June 2015 attended by representatives from
             Allergan, Heritage, Impax, Mylan, and other Co-Conspirators (¶ 92);

         •   HDA 2015 BLC in June 2015 attended by representatives from Allergan,
             (including Boyer, Falkin, and Rogerson) and representatives from Mylan and
             Heritage, along with representatives from other Co-Conspirators (¶ 96); and

         •   NACDS 2015 Total Store Expo in August 2015 attended by representatives
             from Allergan (including Boyer, Falkin, and Rogerson) and representatives
             from Mylan and Heritage, along with representatives from other Co-
             Conspirators (¶¶ 102-03).

                 2.      No Commercial Justification for Price Hikes

         117.    There was no reasonable justification for the price hikes discussed above. While a

  supply shortage can explain an abrupt rise in prices, here—notwithstanding drug manufacturers’

  obligation to report shortages to the FDA—no such shortage of Propranolol was reported during

  the relevant time period. In addition, there was no significant increase in the demand for

  Propranolol or in the drug’s production costs that would explain the enormous price increase. Even

  if there was such a benign market explanation for the price increase, at no point following the

  initial spike did the price return to the pre-spike equilibrium price point.

         118.    In addition, price increases of this magnitude would have been contrary to each of

  the Co-Conspirators’ economic interest absent the price-fixing scheme. Without the certainty that

  all of the Co-Conspirators would raise and maintain the prices for generic Propranolol, each Co-

  Conspirator risked getting undercut by the others, leading to a loss of market share and a loss of


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  revenue. This risk was alleviated by the Co-Conspirators’ agreement to raise and maintain their

  prices for generic Propranolol.

                 3.     The Markets for Generic Propranolol HCL 10mg, 20mg, and
                        80mg Tablets Were Susceptible to Anti-Competitive Conduct

                        (a)     Market Concentration

         119.    In 2014 and 2015, the markets for generic Propranolol HCL 10mg, 20mg, and 80mg

  tablets were highly concentrated, as demonstrated by the HHI calculations below:

                                           2014 HHI                      2015 HHI

      Propranolol HCL 10mg
                                              2,444                         2,786
             tablets

      Propranolol HCL 20mg
                                              2,506                         3,034
             tablets

      Propranolol HCL 80mg
                                              2,514                         2,684
             tablets


         120.    During this period, Allergan and Co-Conspirators Heritage, Impax, and Mylan

  combined to account for more than 75% of the total markets for generic Propranolol HCL 10mg,

  20mg, and 80mg tablets, as shown in the charts below:




                                                47
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                                       49
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                    (b)   Barriers to Entry



                                          50
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         121.    As mentioned above, the barriers to entry into the markets for generic Propranolol

  10mg, 20mg, and 80mg tablets included high manufacturing costs as well as certain regulatory

  and intellectual property barriers. For example, the requirement that generic drug companies file

  an ANDA and receive FDA approval can delay entry into the market by an average of thirty-six

  months.

                        (c)     Lack of Substitutes

         122.    As discussed above, pharmacists presented with a prescription for a given drug can

  only substitute another drug if that drug has an “AB” rating. Only generic Propranolol and brand-

  name Propranolol for a given dosage are AB-rated to one another. Therefore, a pharmacist can

  only fill a prescription for Propranolol with the brand-name version or one of the AB-rated generic

  versions and cannot substitute another drug.

                        (d)     High Degree of Interchangeability

         123.    As mentioned above, all generic versions of any given brand-name drug are

  necessarily interchangeable. Generic Propranolol is no exception. The FDA approved versions

  of generic Propranolol 10mg, 20mg, and 80mg tablets manufactured by the Co-Conspirators

  Allergan, Heritage, Impax, and Mylan each has an “AB” rating. Thus, pharmacists are able to

  substitute one manufacturer’s generic version of Propranolol for another.

                        (e)     Absence of Competitive Sellers

         124.    In the case of generic Propranolol HCL 10mg, 20mg, and 80mg tablets, there was

  no realistic threat that the other market participants, who collectively contributed only 18.2%,

  15.7%, and 16.3%, respectively, of the total generic sales for Propranolol HCL 10mg, 20mg, and

  80mg tablets in 2014 and 9.3%, 7.5%, and 8.9%, respectively, of the total generic sales for

  Propranolol HCL 10mg, 20mg, and 80mg tablets in 2015, would take market share from Allergan

  and Co-Conspirators Heritage, Impax, and Mylan. The dominance of Allergan and the Co-

                                                  51
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  Conspirators facilitated their ability to raise prices without losing market share to the non-

  conspirators. Moreover, following the dramatic price increases in early to mid-2015, discussed

  above, neither Allergan nor the Co-Conspirators were willing to meaningfully undercut prices to

  gain market share, thereby further demonstrating the absence of a competitive market.

         E.     Ursodiol

         125.   Ursodiol, or ursodeoxycholic acid, is a bile acid used to treat gallbladder stones and

  is usually prescribed to patients with small gallstones who cannot undergo gallbladder surgery.

  The drug decreases the amount of cholesterol produced by the liver and absorbed by the intestines

  and helps to break down cholesterol that has formed into gallstones. Generic versions of Ursodiol

  in capsule form have been on the market since 2000. Allergan listed Ursodiol as one of its

  approximately 25 “key products” that together “comprised a majority of product sales for North

  American Generics” in the Company’s 2014 Form 10-K.

                1.      The Co-Conspirators’ Price Hikes

         126.   Allergan and the Co-Conspirators engaged in anti-competitive conduct by

  colluding to improperly raise and maintain the prices of Ursodiol, beginning in mid-2014. For

  example, as demonstrated by the graph and table below, Allergan and Co-Conspirators Epic and

  Lannett raised the prices of Ursodiol 300mg capsules by as much as 2,000%.

         127.   The graph below shows the average monthly price per unit of Ursodiol 300mg

  capsules manufactured by Allergan, Epic, and Lannett between December 2010 and October 2016:




                                                 52
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          128.      The table below shows the average monthly price of Ursodiol 300mg capsules

  manufactured by Allergan, Epic, and Lannett from January 2014 to January 2015:

                                                      Ursodiol 300mg Capsules

            Jan.      Feb.    March   April   May       June   July    Aug.     Sept.   Oct.    Nov.    Dec.    Jan.
            2014      2014    2014    2014    2014      2014   2014    2014     2014    2014    2014    2014    2015
ACTAVIS     $0.27     $0.26   $0.26   $0.26   $0.27    $0.51   $2.94   $2.53    $3.57   $3.53   $3.42   $3.20   $3.15
  EPIC
            $0.20     $0.20   $0.21   $0.19   $0.26    $2.63   $3.82   $3.91    $4.03   $4.47   $4.27   $4.01   $4.29
PHARMA
LANNETT     $0.29     $0.30   $0.30   $0.32   $0.70    $1.66   $2.56   $2.92    $3.75   $4.34   $3.60   $3.46   $3.78



          129.      This drastic increase in the price of Ursodiol 300mg capsules occurred shortly after

  and/or in conjunction with the following trade association meetings:


                                                        53
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         •   GPhA 2014 Annual Meeting in February 2014 attended by representatives from
             Allergan, Epic, and other Co-Conspirators (¶ 92);

         •   NACDS 2014 Annual Meeting in April 2014 attended by representatives from
             Allergan (including Boyer and Falkin) and certain Co-Conspirators (¶ 102);

         •   GPhA 2014 CMC Workshop in June 2014 attended by representatives from
             Allergan, Lannett, and other Co-Conspirators (¶ 92);

         •   HDA 2014 BLC in June 2014 attended by representatives from Allergan
             (including Falkin) and certain Co-Conspirators (¶ 96); and

         •   NACDS 2014 Total Store Expo in August 2014 attended by representatives
             from Allergan (including Boyer, Falkin, and Rogerson) and certain Co-
             Conspirators (¶ 102).

                 2.      No Commercial Justification for Price Hikes

         130.    There was no reasonable justification for the price hikes discussed above. While a

  supply shortage can explain an abrupt rise in prices, here—notwithstanding drug manufacturers’

  obligation to report shortages to the FDA—no such shortage of Ursodiol or ursodeoxycholic acid

  was reported during the relevant time period. In addition, there was no significant increase in the

  demand for Ursodiol or in the drug’s production costs that would explain the enormous price

  increase. Even if there was such a benign market explanation for the price increase, at no point

  following the initial spike did the price return to the pre-spike equilibrium price point.

         131.    In addition, price increases of this magnitude would have been contrary to each of

  the Co-Conspirators’ economic interest absent the price-fixing scheme. Without the certainty that

  all of the Co-Conspirators would raise and maintain the prices for generic Ursodiol, each Co-

  Conspirator risked getting undercut by the others, leading to a loss of market share and a loss of

  revenue. This risk was alleviated by the Co-Conspirators’ agreement to raise and maintain their

  prices for generic Ursodiol.




                                                   54
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                3.     The Market for Generic Ursodiol 300mg Capsules Was
                       Susceptible to Anti-Competitive Conduct

                       (a)     Market Concentration

         132.   In 2014, the market for generic Ursodiol 300mg capsules was highly concentrated,

  as demonstrated by the HHI calculation below:

                                          2014 HHI

     Ursodiol 300mg capsules                 3,726


         133.   During this period, Allergan and Co-Conspirators Epic and Lannett combined to

  account for more than 95% of the total market for generic Ursodiol 300mg capsules, as shown in

  the chart below:




                       (b)     Barriers to Entry




                                                  55
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         134.    As mentioned above, the barriers to entry into the market for generic Ursodiol

  300mg capsules included high manufacturing costs as well as certain regulatory and intellectual

  property barriers. For example, the requirement that generic drug companies file an ANDA and

  receive FDA approval can delay entry into the market by an average of thirty-six months.

         135.    Further discouraging new entrants into the market for generic Ursodiol 300mg

  capsules is the relatively small size of the worldwide market for the drug.

                         (c)    Lack of Substitutes

         136.    As discussed above, pharmacists presented with a prescription for a given drug can

  only substitute another drug if that drug has an “AB” rating. Only generic Ursodiol and brand-

  name Ursodiol for a given dosage are AB-rated to one another. Therefore, a pharmacist can only

  fill a prescription for Ursodiol with the brand-name version or one of the AB-rated generic versions

  and cannot substitute another drug.

                         (d)    High Degree of Interchangeability

         137.    As mentioned above, all generic versions of any given brand-name drug are

  necessarily interchangeable. Generic Ursodiol is no exception. The FDA approved versions of

  generic Ursodiol 300mg capsules manufactured by the Co-Conspirators Allergan, Epic, and

  Lannett each has an “AB” rating. Thus, pharmacists are able to substitute one manufacturer’s

  generic version of Ursodiol for another.

                         (e)    Absence of Competitive Sellers

         138.    In the case of generic Ursodiol 300mg capsules, there was no realistic threat that

  the other market participants, who collectively contributed only 4.3% of the total generic Ursodiol

  300mg capsule sales, would take market share from Allergan and Co-Conspirators Epic and

  Lannett. The dominance of Allergan and the co-conspirators facilitated their ability to raise prices

  without losing market share to the non-conspirators. Moreover, following the dramatic price

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  increases in the second half of 2014, discussed above, neither Allergan nor the Co-Conspirators

  were willing to meaningfully undercut prices to gain market share, thereby further demonstrating

  the absence of a competitive market.

         F.      Doxycycline

         139.    Patented in 1957 and put into commercial use in 1967, Doxycycline is a broad-

  spectrum antibiotic in the tetracycline class. Doxycycline is commonly produced in two salt forms:

  hyclate and monohydrate. Doxycycline is used to treat a variety of bacterial infections, including

  pneumonia, acne, chlamydia, Lyme disease, cholera, and syphilis. Doxycycline, in combination

  with quinine, is also used to treat malaria. Doxycycline is included on the Core List within the

  WHO’s Model List of Essential Medicines. Allergan listed Doxycycline hyclate as one of its

  approximately 25 “key products” that together “comprised a majority of product sales for North

  American Generics” in the Company’s 2013 and 2014 Forms 10-K.

                 1.     The Co-Conspirators’ Price Hikes

         140.    Allergan and the Co-Conspirators engaged in anti-competitive conduct by

  colluding to improperly raise and maintain the prices of Doxycycline hyclate, beginning in early

  2013. For example, as demonstrated by the graphs and tables below, Allergan, Mutual, and West-

  Ward raised the prices of Doxycycline hyclate 50mg and 100mg capsules and 100mg tablets by as

  much as 7,000%.

         141.    The graph below shows the average monthly price per unit of Doxycycline hyclate

  50mg capsules manufactured by Allergan, Mutual, and West-Ward from May 2010 to May 2016:




                                                 57
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             142.     The table below shows Allergan’s and the Co-Conspirators’ average monthly prices

     for Doxycycline 50mg capsules from September 2012 to September 2013:

                                                        Doxycycline 50mg Capsules

          Sept.     Oct.     Nov.     Dec.     Jan.       Feb.     March    April    May      June     July     Aug.     Sept.
          2012      2012     2012     2012     2013       2013     2013     2013     2013     2013     2013     2013     2013
ACTAVIS   $0.061    $0.075   $0.084   $0.087   $0.086     $0.180   $0.795   $1.698   $1.695   $1.674   $1.709   $1.759   $1.543
MUTUAL
          $0.063    $0.061   $0.067   $0.084   $0.094     $0.960   $0.975   $1.104   $1.304   $1.296   $1.404   $1.422   $1.410
PHARM
 WEST-
          $0.062    $0.063   $0.059   $0.059   $0.051     $1.143   $1.286   $1.199   $1.202   $1.258   $1.277   $1.302   $1.271
 WARD




                                                            58
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         143.    This drastic increase in the price of Doxycycline 50mg capsules occurred in

  conjunction with the GPhA 2013 Annual Meeting in February 2013 attended by representatives

  from Allergan (including Olafsson), URL (the parent company of Mutual), and other Co-

  Conspirators (¶ 92).

         144.    The graph below shows the average monthly price per unit of Doxycycline hyclate

  100mg capsules manufactured by Allergan, Mutual, and West-Ward from May 2010 to May 2016:




         145.    The table below shows Allergan’s and the Co-Conspirators’ average monthly prices

  for Doxycycline 100mg capsules from September 2012 to September 2013:

                                          Doxycycline 100mg Capsules


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          Sept.     Oct.    Nov.     Dec.     Jan.     Feb.     March    April    May      June     July     Aug.     Sept.
          2012      2012    2012     2012     2013     2013     2013     2013     2013     2013     2013     2013     2013
ACTAVIS   $0.071   $0.073   $0.090   $0.115   $0.092   $2.216   $2.525   $2.575   $2.592   $2.663   $2.660   $2.649   $2.814
MUTUAL
          $0.050   $0.042   $0.106   $0.076   $0.072   $0.436   $0.529   $1.098   $2.864   $2.770   $3.066   $3.080   $3.327
PHARM
 WEST-
          $0.045   $0.051   $0.055   $0.181   $1.004   $2.810   $3.190   $3.285   $2.785   $2.918   $3.052   $3.150   $3.229
 WARD



             146.     This drastic increase in the price of Doxycycline 100mg capsules occurred in

     conjunction with the GPhA 2013 Annual Meeting in February 2013 attended by representatives

     from Allergan (including Olafsson), URL (the parent company of Mutual), and other Co-

     Conspirators (¶ 92) and the NACDS 2013 Annual Meeting in April 2013 attended by

     representatives from Allergan (including Bisaro and Boyer) and certain Co-Conspirators (¶ 102).

             147.     The graph below shows the average monthly price per unit of Doxycycline hyclate

     100mg tablets manufactured by Allergan, Mutual, and West-Ward from May 2010 to May 2016:




                                                           60
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             148.     The table below shows Allergan’s and the Co-Conspirators’ average monthly prices

     for Doxycycline 100mg tablets from September 2012 to September 2013:

                                                       Doxycycline 100mg Tablets

          Sept.     Oct.    Nov.     Dec.     Jan.       Feb.    March    April    May      June     July     Aug.     Sept.
          2012      2012    2012     2012     2013       2013    2013     2013     2013     2013     2013     2013     2013
ACTAVIS   $0.080   $0.075   $0.083   $0.127   $0.115    $1.080   $2.391   $2.605   $2.732   $2.618   $2.629   $2.639   $2.646
MUTUAL
          $0.045   $0.048   $0.063   $0.135   $0.121    $2.230   $2.600   $2.591   $3.066   $2.992   $3.240   $3.477   $3.623
PHARM
 WEST-
          $0.045   $0.044   $0.054   $0.105   $1.634    $1.541   $2.405   $2.930   $2.877   $2.731   $2.550   $2.466   $2.550
 WARD



             149.     This drastic increase in the price of Doxycycline 100mg tablets occurred in

     conjunction with the GPhA 2013 Annual Meeting in February 2013 attended by representatives

                                                            61
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  from Allergan (including Olafsson), URL (the parent company of Mutual), and other Co-

  Conspirators (¶ 92) and the NACDS 2013 Annual Meeting in April 2013 attended by

  representatives from Allergan (including Bisaro and Boyer) and certain Co-Conspirators (¶ 102).

                 2.     No Commercial Justification for Price Hikes

         150.    There were no reported shortages of Doxycycline that justified the drastic price

  increases discussed above. While the FDA did report a shortage of Doxycycline in January 2013,

  this shortage cannot explain the significant price increases set forth in ¶¶ 141, 144, and 147,

  because among other reasons, the Doxycycline prices did not return to the pre-shortage levels

  following the resolution of the shortage in October 2013. Indeed, Allergan’s prices immediately

  before the shortage were $0.087, $0.115, and $0.127, respectively, for the 50mg capsule, 100mg

  capsule, and 100mg tablet formulations and never returned to these levels after October 2013, as

  shown in the above graphs. There were also no significant increases in the demand for these three

  formulations that would explain the enormous price increases.

         151.    In addition, price increases of this magnitude would have been contrary to each of

  the Co-Conspirators’ economic interest absent the price-fixing scheme. Without the certainty that

  all of the Co-Conspirators would raise and maintain the prices for generic Doxycycline, each Co-

  Conspirator risked getting undercut by the others, leading to a loss of market share and a loss of

  revenue. This risk was alleviated by the Co-Conspirators’ agreement to raise and maintain their

  prices for generic Doxycycline.

                 3.     The Markets for Generic Doxycycline 50mg and 100mg
                        Capsules and 100mg Tablets Were Susceptible to Anti-
                        Competitive Conduct

                        (a)     Market Concentration

         152.    In 2013, the markets for generic Doxycycline 50mg and 100mg capsules and

  100mg tablets were highly concentrated, as demonstrated by the HHI calculations below:

                                                 62
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                                          2013 HHI

    Doxycycline 50mg capsules                3,665

        Doxycycline 100mg
                                             3,540
            capsules

    Doxycycline 100mg tablets                3,279


         153.   During this period, Allergan and Co-Conspirators Mutual and West-Ward

  combined to account for more than 95% of the total markets for generic Doxycycline 50mg and

  100mg capsules and 100mg tablets, as shown in the charts below:




                                               63
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                         (b)     Barriers to Entry

         154.    As mentioned above, the barriers to entry into the markets for generic Doxycycline

  50mg and 100mg capsules and 100mg tablets included high manufacturing costs as well as certain

  regulatory and intellectual property barriers. For example, the requirement that generic drug

  companies file an ANDA and receive FDA approval can delay entry into the markets for generic

  Doxycycline by an average of thirty-six months.

                         (c)     Lack of Substitutes

         155.    As discussed above, pharmacists presented with a prescription for a given drug can

  only substitute another drug if that drug has an “AB” rating. Only generic Doxycycline and brand-

  name Doxycycline for a given dosage are AB-rated to one another. Therefore, a pharmacist can

  only fill a prescription for Doxycycline with the brand-name version or one of the AB-rated generic

  versions and cannot substitute another drug.

                         (d)     High Degree of Interchangeability

         156.    As mentioned above, all generic versions of any given brand-name drug are

  necessarily interchangeable. Generic Doxycycline hyclate is no exception. The FDA approved

  versions of generic Doxycycline hyclate in 50mg and 100mg capsules and 100mg tablets

  manufactured by the Co-Conspirators Allergan, Mutual, and West-Ward each has an “AB” rating.

  Thus, pharmacists are able to substitute one manufacturer’s generic version of Doxycycline hyclate

  for another.

                         (e)     Absence of Competitive Sellers

         157.    In the case of generic Doxycycline hyclate 50mg and 100mg capsules and 100mg

  tablets, there was no realistic threat that the other market participants, who collectively contributed

  only 0%, 1.2%, and 4.1%, respectively of the total generic sales for Doxycycline hyclate 50mg

  and 100mg capsules and 100mg tablets, would take market share from Allergan and Co-

                                                    65
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  Conspirators Mutual and West-Ward. The dominance of Allergan and the Co-Conspirators

  facilitated their ability to raise prices without losing market share to the non-conspirators.

  Moreover, following the dramatic price increases in early 2013, discussed above, neither Allergan

  nor the Co-Conspirators were willing to meaningfully undercut prices to gain market share,

  thereby further demonstrating the absence of a competitive market.

         G.     Desonide

         158.   Desonide is a mild topical corticosteroid produced in cream, gel, and ointment

  form. Desonide is used to treat a variety of skin conditions, including eczema, seborrheic and

  contact dermatitis, allergies, and psoriasis, and works by reducing the swelling, itching, and

  redness that accompanies these conditions.      Allergan listed Desonide cream as one of its

  approximately 25 “key products” that together “comprised a majority of product sales for North

  American Generics” in the Company’s 2013 and 2014 Forms 10-K.

                1.      The Co-Conspirators’ Price Hikes

         159.   Allergan and the Co-Conspirators engaged in anti-competitive conduct by

  colluding to improperly raise and/or maintain the prices of Desonide, beginning in mid-2013. For

  example, as demonstrated by the chart and graph below, Taro and Perrigo raised the price of a

  15gm tube of Desonide 0.05% cream by as much as 470% between March and September of 2013.

  When Allergan entered the market for this drug in September 2013, it joined the conspiracy and

  offered its version of the drug at the inflated price established by Co-Conspirators Taro and

  Perrigo.

         160.   The graph below shows the average monthly price per 15gm tube of Desonide

  0.05% cream manufactured by Taro, Perrigo, and Allergan between December 2010 and

  December 2016:



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          161.   The table below shows the average monthly price of a 15gm tube of Desonide

  0.05% cream manufactured by Taro, Perrigo, and Allergan from March 2013 to January 2014:

                                                Desonide 0.05% Cream 15gm

            March    April    May      June       July    Aug.     Sept.    Oct.     Nov.     Dec.     Jan.
            2013     2013     2013     2013       2013    2013     2013     2013     2013     2013     2014
ACTAVIS                                                            $3.723   $3.683   $3.543   $3.532   $3.513
PERRIGO     $0.591   $0.581   $0.869   $1.428    $2.830   $3.225   $2.733   $2.585   $2.640   $2.551   $2.440
  TARO
            $0.693   $0.708   $2.790   $3.304    $3.648   $3.765   $3.968   $3.947   $3.809   $3.763   $3.766
 PHARM


          162.   This drastic increase in the price of 15gm tubes of generic Desonide 0.05% cream

  and Allergan’s entrance into the market at an inflated price occurred shortly after the GPhA 2013


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  Annual Meeting in February 2013 attended by representatives from Allergan (including Olafsson),

  Perrigo, Taro, and other Co-Conspirators (¶ 92), the NACDS 2013 Annual Meeting in April 2013

  attended by representatives from Allergan (including Bisaro and Boyer), and certain Co-

  Conspirators (¶ 102), and the GPhA 2013 CMC Workshop in June 2013, attended by

  representatives from Allergan, Perrigo, Taro, and other Co-Conspirators (¶ 92).

                 2.      No Commercial Justification for Price Hikes

         163.    There was no reasonable justification for the price hikes discussed above. While a

  supply shortage can explain an abrupt rise in prices, here—notwithstanding drug manufacturers’

  obligation to report shortages to the FDA—no such shortage of Desonide was reported during the

  relevant time period. In addition, there was no significant increase in the demand for Desonide or

  in the drug’s production costs that would explain the enormous price increase. Even if there was

  such a benign market explanation for the price increase, at no point following the initial spike did

  the price return to the pre-spike equilibrium price point.

         164.    In addition, price increases of this magnitude would have been contrary to each of

  the Co-Conspirators’ economic interest absent the price-fixing scheme. Without the certainty that

  all of the Co-Conspirators would raise and maintain the prices for generic Desonide, each Co-

  Conspirator risked getting undercut by the others, leading to a loss of market share and a loss of

  revenue. This risk was alleviated by the Co-Conspirators’ agreement to raise and maintain their

  prices for generic Desonide.

                 3.      The Market for 15gm Tubes of Generic Desonide 0.05%
                         Cream Was Susceptible to Anti-Competitive Conduct

                         (a)     Market Concentration

         165.    In 2013 and 2014, the market for 15gm tubes of generic Desonide 0.05% cream

  was highly concentrated, as demonstrated by the HHI calculation below:


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                                          2013 HHI                     2014 HHI

    Desonide 0.05% 15gm tube                 5,317                        4,731


         166.    During this period, Allergan and Co-Conspirators Taro and Perrigo combined to

  account for 100% of the total market for 15gm tubes of generic Desonide 0.05% cream, as shown

  in the charts below:




                                               69
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                        (b)    Barriers to Entry

         167.   As mentioned above, the barriers to entry into the market for 15gm tubes of generic

  Desonide 0.05% cream included high manufacturing costs as well as certain regulatory and

  intellectual property barriers. For example, the requirement that generic drug companies file an

  ANDA and receive FDA approval can delay entry into the market by an average of thirty-six

  months.

                        (c)    Lack of Substitutes

         168.   As discussed above, pharmacists presented with a prescription for a given drug can

  only substitute another drug if that drug has an “AB” rating. Only generic Desonide and brand-

  name Desonide for a given dosage are AB-rated to one another. Therefore, a pharmacist can only

  fill a prescription for Desonide with the brand-name version or one of the AB-rated generic

  versions and cannot substitute another drug.



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                        (d)     High Degree of Interchangeability

         169.    As mentioned above, all generic versions of any given brand-name drug are

  necessarily interchangeable. Generic Desonide is no exception. The FDA approved versions of

  generic Desonide 0.05% in 15gm tubes manufactured by the Co-Conspirators Allergan, Perrigo,

  and Taro each has an “AB” rating. Thus, pharmacists are able to substitute one manufacturer’s

  generic version of Desonide for another.

                        (e)     Absence of Competitive Sellers

         170.    In the case of 15gm tubes of generic Desonide 0.05% cream, there were no other

  market participants who could take market share from Allergan and Co-Conspirators Taro and

  Perrigo. The complete dominance of Allergan and the co-conspirators facilitated their ability to

  raise prices without losing market share to the non-conspirators. Moreover, following the dramatic

  price increases in mid-2013, discussed above, neither Allergan nor the Co-Conspirators were

  willing to meaningfully undercut prices to gain market share, thereby further demonstrating the

  absence of a competitive market.

         H.      Direct Evidence of Price Collusion: Telephone Calls, Text Messages
                 and Emails

         171.    The Amended AG Complaint sets forth direct evidence of Allergan’s price fixing

  activities with respect to two additional generic drugs, Verapamil and Glyburide-Metformin. The

  Attorneys General describe knowingly collusive activity that was purposefully conducted during

  in-person meetings, phone calls, and text messages in an effort to conceal proof of the illegal

  agreements.

         172.    Verapamil is a medication used to treat high blood pressure and to prevent chest

  pain, also known as angina. Verapamil belongs to a class of drugs known as calcium channel




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  blockers and works by relaxing blood vessels so that blood can flow more easily. In addition,

  Verapamil can be used to treat individuals with fast or irregular heartbeats by lowering heart rate.

         173.    Glyburide-Metformin is a combination medication used to control high blood sugar

  in individuals with type 2 diabetes. Glyburide belongs to the sulfonylureas class of drugs and

  causes the body to release insulin and decreases sugar production by the liver, thereby lowering

  blood sugar. Metformin also decreases sugar production by the liver and decreases the amount of

  sugar absorbed by the stomach and intestines. Both medications help to restore the body’s proper

  response to naturally-produced insulin.

         174.    As of April 2014, Heritage’s competitors for Verapamil were Mylan and Allergan.

  Heritage’s competitors in the Glyburide-Metformin market were Allergan, Teva USA and

  Aurobindo. According to the allegations in the Amended AG Complaint, all supported by

  evidence directly produced to or made available to the Attorneys General, Heritage decided that it

  wanted to raise prices for these two drugs and set about contacting representatives at each of the

  competitor companies.

         175.    On or around April 22, 2014, an Allergan representative spoke to a member of the

  Heritage sales team for nine minutes and agreed to increase the prices for Glyburide-Metformin

  and Verapamil. These agreements between Heritage and Allergan to increase the prices for

  Verapamil and Glyburide-Metformin were reflected in an August 20, 2014 text message exchange

  between representatives from Sun and another co-conspirator.

         176.    Following the April 22, 2014 call with Heritage, the Allergan representative

  conveyed to the Allergan sales and price teams that Heritage wanted to increase the prices on

  Verapamil and Glyburide-Metformin. For example, immediately after speaking to the Heritage

  representative, the Allergan representative contacted two different Allergan Senior Pricing



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  Managers. Thereafter, the information regarding the price increase spread quickly amongst the

  sales and price teams at Allergan.

         177.    In an internal Allergan email dated April 28, 2014, an Allergan pricing manager

  commented on a list of potential price increases for different drugs. Just a few days later, on May

  1, 2014, one of the recipients of the internal Allergan email regarding price increases called a

  representative at Teva USA, which was already a party to the Glyburide-Metformin price-fixing

  agreement with Heritage. The Allergan and Teva USA representatives spoke three more times on

  May 6, 2014, including one call that lasted fifteen minutes. Those representatives continued to

  communicate frequently over the next several months. As detailed in the Amended AG Complaint,

  Teva USA had more than 330 phone or text message conversations with Allergan during the one-

  year period from July 2013 to July 2014, including more than 110 phone or text message

  conversations between May 2014 and July 2014. Representatives from Allergan also had regular

  contact with representatives from Aurobindo, another competitor in the generic Glyburide-

  Metformin market, including two phone calls on May 12, 2014 and thirty text messages between

  May 19, 2014 and May 22, 2014.

         178.    On May 6, 2014, an Allergan representative who had also received the April 28,

  2014 email discussed above called a Mylan representative and left a message. The Mylan

  representative returned the call on May 9, 2014 and the ensuing conversation lasted more than

  three minutes. The Allergan and Mylan representatives spoke again on May 19, 2014 for nearly

  seven minutes and continued to communicate frequently over the next several months.

         179.    On the basis of these facts, among others, the State Attorneys General named

  Allergan, Mylan, Heritage, Teva USA and Aurobindo as defendants in the Amended AG

  Complaint.



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         I.     Government Investigations into Allergan’s Anti-Competitive Conduct

         180.   As discussed above, on October 2, 2014, U.S. Senator Bernie Sanders and U.S.

  Representative Elijah Cummings launched an investigation into “soaring generic drug prices,”

  according to a press release. Sen. Sanders and Rep. Cummings sent out letters to various generic

  pharmaceutical manufacturers, including Allergan (then Actavis).

         181.   As part of the letter to Allergan, Sen. Sanders and Rep. Cummings asked Defendant

  Saunders to provide the following information:

         In order to evaluate the underlying causes of recent increases in the price of your
         company’s drug, we request that you provide the following documents and
         information for the time period covering January 1, 2012, to the present:

                1. total gross revenues from the company’s sales of this drug;
                2. the dates, quantities, purchasers, and prices paid for all sales
                   of this drug;
                3. total expenses relating to the sales of this drug, as well as the
                   specific amounts for manufacturing, marketing and advertising,
                   and purchases of active pharmaceutical ingredients, if
                   applicable;
                4. sales contracts or purchase agreements for active pharmaceutical
                   ingredients for this drug, including any agreements relating to
                   exclusivity, if applicable;
                5. a description and valuation of the specific financial and non-
                   financial factors that contributed to your company’s decisions to
                   increase the price of this drug;
                6. any cost estimates, profit projections, or other analyses relating
                   to the company’s current and future sales of this drug;
                7. price of this drug in all foreign countries or markets, including
                   price information for the countries paying the highest and lowest
                   price; and
                8. the identity of company official(s) responsible for setting the
                   price of the drug over the above time period.

         182.   One month later, the DOJ convened a grand jury in the United States District Court

  for the Eastern District of Pennsylvania. One of Allergan’s Co-Conspirators, Lannett, reported on

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  November 3, 2014 that its Senior Vice President of Sales and Marketing had received a subpoena

  from the DOJ in connection with the federal investigation of the generic pharmaceutical industry

  and requesting information on Lannett’s generic drug pricing and communications with

  competitors. On December 5, Lannett itself received a subpoena requesting similar information.

  Lannett was the first of at least ten other generic drug manufacturers to receive DOJ subpoenas in

  connection with the investigation, including Allergan and Co-Conspirators Heritage, Impax, and

  Mylan—companies which, as shown above (¶¶ 108, 111, 114), also raised the prices of some of

  their generics at or close to the same time as Allergan’s price increases. On August 6, 2015,

  Allergan disclosed for the first time that its Actavis generic drug unit had received a DOJ subpoena

  in June 2015. In response to the news, Bloomberg noted that Allergan was “the biggest company

  yet to draw scrutiny in the government’s widening antitrust probe of the [generic pharmaceutical]

  industry.”

         183.    The fact that the DOJ sent a subpoena to Allergan after sending subpoenas to its

  competitors strongly suggests that evidence learned through those prior subpoenas led the DOJ to

  believe that Allergan was also engaged in improper pricing. Moreover, the DOJ has filed motions

  to intervene in at least six civil antitrust actions alleging price-fixing in violation of the Sherman

  Act against Allergan and/or the Actavis generic drug unit sold to Teva in August 2016, including

  one case in which the district court has already denied the defendants’ motion to dismiss (FWK

  Holdings, LLC v. Actavis Elizabeth, LLC, et al., 1:16-cv-09901-JSR (S.D.N.Y.), ECF No. 134).

  In these cases, the plaintiffs have requested that the various generic drug company-defendants

  produce all documents produced to the DOJ in the criminal investigation. In the DOJ’s motion to

  intervene in the FWK Holdings action alleging price-fixing of Propranolol (ECF No. 72), the DOJ

  explained that the “action presents a risk to the United States’ interest in ensuring the integrity of



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  its ongoing criminal investigation” because, among other reasons, “its ongoing criminal antitrust

  investigation shares common questions of law and fact with the civil claims” and because the

  plaintiffs have sought the same documents produced to the federal prosecutors. The DOJ’s

  intervention in these civil actions implicating Allergan’s price-fixing activities is a powerful

  indication that the allegations of price-fixing are supported (at least in part) by documents and

  other information provided to the DOJ in its investigation.

         184.    The DOJ filed the first criminal charges in connection with its investigation on

  December 12 and 13, 2016 against Jason T. Malek and Jeffrey A. Glazer of Heritage in the United

  States District Court for the Eastern District of Pennsylvania. Malek was Heritage’s President and

  Glazer was Heritage’s CEO and Chairman during the period covered by the DOJ’s investigation.

  On December 14, 2016 the DOJ released an information charging Malek and Glazer with criminal

  violations of Section 1 of the Sherman Act (15 U.S.C. § 1) for price-fixing and other anti-

  competitive conduct in connection with generic Doxycycline, one of the drugs sold by Allergan at

  historically high prices during the Class Period, and a second drug, Glyburide. The DOJ alleged

  that Malek and Glazer conspired to:

                 a.     Participate, direct, authorize, or consent to subordinate employs to
                        discuss the sale of doxycycline hyclate and glyburide and created
                        “rig bids” for those drugs in meetings, conversations, and
                        communications with co-conspirators;

                 b.     Agreed during those meetings to “allocate customers” and not
                        compete against one another for doxycycline and glyburide
                        customers in the United States;

                 c.     Actually submitted or withheld the discussed bids and issued price
                        proposals in accordance with agreements reached; and

                 d.     Sold and profited from selling doxycycline and glyburide in the
                        United States at “collusive and noncompetitive prices.”




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  The DOJ described how Malek and Glazer did not act alone and that “various corporations and

  individuals, not made defendants in this Count, participated as co-conspirators in the offenses

  charged herein and performed acts and made statements in furtherance of.”

         185.    Malek and Glazer pled guilty to the DOJ charges on January 9, 2017.

         186.    On December 14, 2016, in an article by Forbes entitled, “The Man the Feds are

  Using to First Crack Open Their Big Antitrust Case Against Generic Drug Makers,” Robert

  Connolly, former chief of the DOJ’s Antitrust Division, stated the following:

                 [a] criminal information against an individual for antitrust charges
                 prior to any other government action in an antitrust case suggests the
                 individual is cooperating with the government investigation. “It
                 sounds like it can be just the first case and others will follow, it
                 would be unusual for the federal government to charge just one
                 individual so I would assume there is more to come.”

         187.    On the same day that the DOJ announced the charges against Malek and Glazer,

  twenty state Attorneys General revealed that they had sued six generic drug companies for their

  roles in the conspiracy to artificially inflate prices of Doxycycline and Glyburide, including

  Heritage, Mayne, Mylan, and Teva USA. Teva’s Actavis unit (part of Allergan prior to July 26,

  2015) received a subpoena from the Connecticut Attorney General in connection with its price-

  fixing investigation which began in June 2014.

         188.    The Initial AG Complaint states that the Attorneys General “have uncovered a

  wide-ranging series of conspiracies implicating numerous different drugs and competitors, which

  will be acted upon at the appropriate time.” The Attorneys General describe these conspiracies as

  “schemes to fix and maintain prices, allocate markets and otherwise thwart competition” and

  explain that they are carried out by generic drug companies through their senior executives who

  “exploit their interactions at various and frequent industry trade shows, customer conferences and

  other similar events, to develop relationships and sow the seeds for their illegal agreements.”


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         189.     According to the Initial AG Complaint, the drug manufacturers attempted to

  explain the suspicious price hikes through “a myriad of benign factors,” however, the plaintiff

  States “found through their investigation . . . that the reason underlying many of these price

  increases is much more straightforward and sinister—collusion among generic drug competitors.”

  Among others things, the company executives met at “regular ‘industry dinners’” and “exchanged

  numerous and frequent telephone calls, emails and text messages.”

         190.    The Connecticut Attorney General noted in his December 15, 2016 press release

  that the price collusion was not the isolated misconduct of a few rogue employees, explaining that

  “the misconduct was conceived and carried out by senior drug company executives and their

  subordinate marketing and sales executives.” The Connecticut Attorney General further noted that

  the States’ investigation is still ongoing and claims to have “uncovered evidence of a broad, well-

  coordinated and long-running series of schemes to fix the prices and allocate markets for a number

  of generic pharmaceuticals in the United States.” As the Connecticut Attorney General explained,

  “[w]hile the principal architect of the conspiracies addressed in this lawsuit was Heritage

  Pharmaceuticals, we have evidence of widespread participation in illegal conspiracies across the

  generic drug industry . . . . We intend to pursue this and other enforcement actions aggressively,

  and look forward to working with our colleagues across the country to restore competition and

  integrity to this important market.”

         191.    The Connecticut Attorney General announced in a May 24, 2017 press release that

  Malek and Glazer had entered into settlement and cooperation agreements with Connecticut and

  the other states investigating the anticompetitive conduct in the generic drug industry. Pursuant to

  these agreements, Malek and Glazer both “agreed to cooperate in the states’ ongoing litigation and

  investigation.” In commenting on the agreements, the Connecticut Attorney General stated: “We



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  have alleged in our lawsuit that executives with Heritage Pharmaceuticals played a major role in

  these illegal conspiracies, we have, and we fully expect the agreements we have reached with Mr.

  Glazer and Mr. Malek – and the evidence they will provide to our working group – will

  significantly strengthen our ability to prosecute the litigation and further our investigation.”

         192.    On October 31, 2017, the Attorneys General released a redacted copy of their

  proposed amended complaint. The Amended AG Complaint names twelve additional generic drug

  manufacturers as defendants and adds allegations concerning thirteen additional drugs. Allergan

  was among the newly-named defendants. As discussed above (at ¶¶ 171-78), the Amended AG

  Complaint includes detailed facts regarding specific illegal agreements between Allergan and other

  manufacturers including Heritage to the fix the prices for Verapamil and Glyburide-Metformin,

  including dates and durations of phone calls, the number and frequency of text messages and other

  communications and internal Allergan emails regarding price increases.

         193.    The Connecticut Attorney General’s October 31, 2017 press release regarding the

  Amended AG Complaint states:

         In our original complaint, the states – led by my office – alleged that prices for two
         generics drugs increased dramatically due to illegal conspiracies between six
         generic drug manufacturers. When that complaint was filed, I said it was just the
         tip of the iceberg. Today, we are seeking leave of the court to file an expanded
         complaint that implicates significantly more companies, significantly more drugs
         and two individual executives in the illegal conduct. We allege in this complaint
         that the defendant companies’ collusion was so pervasive that it essentially
         eliminated competition from the market for these 15 drugs in its entirety. Our
         ongoing investigation continues to uncover additional evidence, and we anticipate
         bringing more claims involving additional companies and drugs at the appropriate
         time.

  V.     DEFENDANTS’ MATERIALLY FALSE OR MISLEADING STATEMENTS AND
         OMISSIONS

         194.    During the Class Period, Defendants made a series of materially false or misleading

  statements and omissions of material fact regarding: (i) the competitive nature of the generic drug


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  market and the source of Allergan’s revenues; (ii) the Company’s reported revenues; (iii) the

  accuracy of the Company’s SEC filings; and (iv) compliance with the Company’s Code of

  Conduct.

         A.      Statements Regarding Competitive Nature of the Generic Drug
                 Market and Source of Revenues

         195.    The Class Period begins on October 29, 2013, when Allergan filed a Form 8-K,

  signed by Joyce, with the SEC (the “3Q 2013 Form 8-K”). In the press release attached to the 3Q

  2013 Form 8-K, which announced certain of the Company’s financial and operating results for the

  quarter ended September 30, 2013, Bisaro stated, in part:

         Strong global growth in our Actavis Pharma segment was driven by our ability
         to capitalize on product opportunities from our industry leading R&D pipeline.
         In the U.S., we launched generic versions of Lidoderm® and Opana® ER and
         received FDA approval of a generic version of Lamictal® ODT. We also
         confirmed that we have initiated U.S. patent challenges on such important products
         as generic versions of Nucynta ER® and Suboxone® Sublingual Film.

         196.    On October 29, 2013, Allergan hosted a conference call to discuss the Company’s

  3Q 2013 financial results. During this call, Olafsson stated, in part:

         With regard to the generic pricing outlook at a high level, what has happened
         probably over the last two years is it has been more common that obviously there
         is a price erosion in the market due to the consolidation. But there is opportunities
         [sic] to take pricing increases; and that is what has changed since maybe five
         years ago when there wasn’t an opportunity. These pricing increases have been
         in products where there has been manufacturing problems or stock-out situation.

         So I think that has been a fact in the US generic market, that there is an
         opportunity to take price increases. But also at the same time with the environment
         on the consolidation of the customers, clearly there is a pricing pressure overall in
         the market.

         197.    On October 31, 2013, Allergan filed a quarterly report on Form 10-Q with the SEC,

  reporting certain of the Company’s financial and operating results for the quarter ended September

  30, 2013 (the “3Q 2013 Form 10-Q”). In the 3Q 2013 Form 10-Q, Allergan stated, in part:



                                                   80
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         The pharmaceutical industry is highly competitive . . . We face strong competition
         in our all of our businesses.

         198.   On February 20, 2014, Allergan filed a Form 8-K, signed by Joyce, with the SEC

  (the “4Q 2013 Form 8-K”). In the press release attached to the 4Q 2013 Form 8-K, which

  announced certain of the Company’s financial and operating results for the year and quarter ended

  December 31, 2013, Bisaro stated, in part:

         Growth in our U.S. generic business was driven by strong product launches of
         generic versions of Suboxone® Sublingual tablets, Lidoderm® and Cymbalta®.

         199.   On February 25, 2014, Allergan filed a Form 10-K reporting the Company’s

  financial results for 2013 (the “2013 Form 10-K”). In the 2013 Form 10-K, Allergan stated:

                                           Competition
         The pharmaceutical industry is highly competitive. In our Actavis Pharma and
         Actavis Specialty Brands businesses, we compete with different companies
         depending upon product categories, and within each product category, upon dosage
         strengths and drug delivery systems. Such competitors include the major brand
         name and generic manufacturers of pharmaceutical products. In addition to product
         development, other competitive factors in the pharmaceutical industry include
         product quality and price, reputation and service and access to proprietary and
         technical information.

         ***

         We actively compete in the generic pharmaceutical industry.

         ***

         [T]he level of market share, revenues and gross profit attributable to a particular
         generic product normally is related to the number of competitors in that product’s
         market, pricing and the timing of that product’s regulatory approval and launch, in
         relation to competing approvals and launches.

         ***

         In addition to competition from other generic drug manufacturers, we face
         competition from brand name companies in the generic market. Many of these
         companies seek to participate in sales of generic products by, among other things,
         collaborating with other generic pharmaceutical companies or by marketing their
         own generic equivalent to their brand products as Authorized Generics. Our major


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          competitors include Teva Pharmaceutical Industries, Ltd., Mylan Inc. and Sandoz,
          Inc. (a division of Novartis AG).

          200.    On April 30, 2014, Allergan filed a Form 8-K, signed by Joyce, with the SEC (the

  “1Q 2014 Form 8-K”). In the press release attached to the 1Q 2014 Form 8-K, which announced

  certain of the Company’s financial and operating results for the quarter ended March 31, 2014,

  Bisaro stated, in part:

          Overall revenue growth of 36 percent in our commercial pharmaceutical business
          benefitted from the continued strength of our generics business, resulting from the
          launch of our generic Micardis® in the U.S. and continued strong sales of the
          generic versions of Lidoderm® and Cymbalta®.

          201.    In the 1Q 2014 Form 8-K, Allergan stated:

          North American Generics revenue increased 7 percent to $1.02 billion for the first
          quarter 2014, driven by product launches including generic versions of Cymbalta®
          and Lidoderm® partially offset by generic competition of extended release
          products including our authorized generic version of Concerta®.

          202.    On May 29, 2014, Allergan participated in the Sanford C. Bernstein Strategic

  Decisions Conference (“Bernstein Conference”). During this conference, Bisaro stated, in part:

          And I guess where that leads to is I think sustainable and longer-term higher pricing
          in the generic industry than people are generally used to. We have also seen in the
          short term the ability to take price increases on older products where the price
          had gone to a point where companies had to make the decision about whether to
          continue manufacturing or raise price. And now we are taking those price
          increases and those price increases are sticking.

          So instead of discontinuing a product we are looking to raise the price. And while
          it may seem like a lot of money, or it is not an insignificant number in a very high
          percentage, but we are talking about going from $10 a thousand to $20 a thousand.
          So not enormous numbers when it comes to the patient but important and relevant
          to us.

          203.    On August 5, 2014, Allergan filed a Form 8-K, signed by Joyce, with the SEC (the

  “2Q 2014 Form 8-K”). In the press release attached to the 2Q 2014 Form 8-K, which announced

  the highlights from the Company’s 2Q 2014 financial and operating results, Bisaro stated, in part:




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         Our exceptional performance during the second quarter resulted from double digit
         revenue growth in both our North American brand and generics businesses and
         Anda Distribution[.]

         ***

         We also saw strong growth within our generics business, powered by our strong
         base business along with continued strong sales of the generic versions of
         Lidoderm® and Cymbalta®.

         204.    On August 5, 2014, Allergan hosted a conference call to discuss the Company’s 2Q

  2014 financial results. During this call, an analyst from Leerink Partners inquired about the “US

  generic pricing outlook for 2014 and 2015” and also asked whether Allergan had “factored any

  aggressive pricing increases” into the Company’s guidance numbers, specifically noting that

  “smaller generic players seem to be taking very aggressive pricing increases.” In responding to

  these questions, Saunders stated, in part:

         Clearly we think there are more opportunities to take price [increases], particularly
         as we leverage our strong supply chain and the reliability of high-quality supply
         that we can offer customers that perhaps you are seeing with some of our
         competitors not to be as true. And so that always creates opportunity.

         205.    Buchen then added:

         We have a very broad portfolio and we take pricing opportunities where we can. . .
         . That is one of the advantages of having a very diverse portfolio is we can – with
         our supply chain the way it is, we can react very quickly when there are pricing
         opportunities and the ability to take more share.

         206.    On November 5, 2014, Allergan filed a Form 8-K, signed by Joyce, with the SEC

  (the “3Q 2014 Form 8-K”). In the press release attached to the 3Q 2014 Form 8-K, which

  announced certain of the Company’s financial and operating results for the quarter ended

  September 30, 2014, Saunders stated, in part:

         Our 53 percent year-over-year growth in non-GAAP EPS reflects the strong
         contributions of our new brand pharmaceutical portfolios, resulting from the
         acquisitions of Warner Chilcott and Forest, as well as the continued strong
         performance of our U.S. Generics and International businesses and the Anda
         Distribution business[.]

                                                  83
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         ***

         Within our North American Generics business, we capitalized on continued
         strength across the business.

         207.   On February 18, 2015, Allergan filed a Form 8-K, signed by Hilado, with the SEC

  (the “4Q 2014 Form 8-K). In the press release attached to the 4Q 2014 Form 8-K, which

  announced certain of the Company’s financial and operating results for the year and quarter ended

  December 31, 2014, Saunders stated, in part:

         In our North American Generics business, strong results were driven by continued
         performance of our generic versions of Lidoderm® and Concerta®, and fourth
         quarter launches of generic versions of Intuniv™ and Celebrex®.

         208.   On February 18, 2015, Allergan also filed an Annual Report on Form 10-K with

  the SEC, reiterating the financial and operating results previously announced in the 4Q 2014 Form

  8-K and reporting in full the Company’s financial and operating results for the quarter and year

  ended December 31, 2014 (the “2014 Form 10-K”).

         209.    In the 2014 10-K, Allergan stated, in part:

                                           Competition
         The pharmaceutical industry is highly competitive. In our North American
         Brands and North American Generics and International businesses, we compete
         with different companies depending upon product categories, and within each
         product category, upon dosage strengths and drug delivery systems. Such
         competitors include the major brand name and generic manufacturers of
         pharmaceutical products. In addition to product development, other competitive
         factors in the pharmaceutical industry include product quality, price, reputation,
         service and access to proprietary and technical information.

         ***

         We actively compete in the generic pharmaceutical industry.

         ***

         [T]he level of market share, revenues and gross profit attributable to a particular
         generic product normally is related to the number of competitors in that product’s
         market, pricing and the timing of that product’s regulatory approval and launch, in
         relation to competing approvals and launches.

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         ***

         In addition to competition from other generic drug manufacturers, we face
         competition from brand name companies in the generic market. Many of these
         companies seek to participate in sales of generic products by, among other things,
         collaborating with other generic pharmaceutical companies or by marketing their
         own generic equivalent to their brand products as “Authorized Generics.” Our
         major competitors include Teva Pharmaceutical Industries, Ltd., Mylan Inc. and
         Sandoz, Inc. (a division of Novartis AG).

         210.    On May 11, 2015, Allergan filed a Form 8-K, signed by Hilado, with the SEC (the

  “1Q 2015 Form 8-K”). In the press release attached to the 1Q 2015 Form 8-K, which announced

  certain of the Company’s financial and operating results for the quarter ended March 31, 2015,

  Saunders stated, in part:

         Our first quarter performance was highlighted by strong revenue growth from
         Namenda XR®, Linzess®, Bystolic®, Viibryd®/ Fetzima®, LoLoestrin® Fe,
         Saphris®, Estrace® Cream as well as continued growth within our generics
         business, powered by strong sales of the generic versions of Concerta®, Intuniv®
         and the recent launch of our generic version of OxyContin®.

         211.    On May 11, 2015, Allergan hosted a conference call to discuss the Company’s 1Q

  2015 financial results. During this call, an analyst from Guggenheim Securities LLC asked for

  Allergan’s thoughts on “generic drug pricing given that there have been concerns that it may not

  be as favorable going forward.” Responding to this question, Saunders stated, in part:

         We haven’t seen much of a change despite all the fanfare and publicity around drug
         pricing and generics. There are obviously a few products that go up but the model
         for generics is price decreases as more competitors come into the market. That is
         just the way the business works and overall we still model a mid single-digit price
         decrease in our business. That being said, the environment has remained pretty
         stable and favorable. We don’t expect that to change short-term either.

         212.    Bisaro added:

         [O]ur pipeline and product line gives us a bit of an advantage because of the
         uniqueness of it and allows us to be somewhat insulated from the general reduction
         of prices. As you know we have worked very hard to create that product line and
         we are obviously taking advantage of the situation as the situations present
         themselves.


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         213.    On August 6, 2015, Allergan filed a Form 8-K, signed by Hilado, with the SEC (the

  “2Q 2015 Form 8-K”). In the press release attached to the 2Q 2015 Form 8-K, which announced

  certain of the Company’s financial and operating results for the quarter ended June 30, 2015,

  Saunders stated, in part:

         In our first full quarter as a combined Company, Allergan delivered exceptional
         results. Our performance was powered by operational excellence and double-
         digit growth across our Brands and Global Generics businesses, while continuing
         outstanding momentum on the integration of Actavis and Allergan. We also
         achieved important R&D milestones that will help fuel both our branded and
         generics businesses in the future[.]

         214.    On August 6, 2015, Defendant Saunders appeared on CNBC’s Mad Money with

  Jim Cramer. Saunders directly addressed the market reaction to the issuance of the DOJ subpoena

  on Allergan, which had been announced by the Company in its 2Q 2015 Form 10-Q. Host Jim

  Cramer noted that “a lot of people panicked” on news of the DOJ subpoena. Saunders responded

  by stating that “the DOJ investigation really is a red herring,” and, in the context of Allergan, was

  “not that significant.” Saunders specifically attributed any pricing increases that had caught the

  attention of the DOJ were solely attributable to “supply and demand” influences.

         215.    On November 4, 2015, Allergan filed a Form 8-K, signed by Hilado, with the SEC

  (the “3Q 2015 Form 8-K”). In the press release attached to the 3Q 2015 Form 8-K, which

  announced certain of the Company’s financial and operating results for the quarter ended

  September 30, 2015, Saunders stated, in part:

         Allergan delivered exceptional performance across the board in the third quarter
         that exceeded expectations. These strong results were driven by our continued
         focus on customers, fueling volume-driven year-over-year growth in our U.S.
         Brands, Medical Aesthetics, International Brands and Anda Distribution segments,
         while also executing pre-integration activities ahead of the divestiture of the
         Generics business to Teva, which remains on track to be completed in the first
         quarter of 2016[.]




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         216.   On February 22, 2016, Allergan filed a Form 8-K, signed by Hilado, with the SEC

  (the “4Q 2015 Form 8-K”). In the press release attached to the 4Q 2015 Form 8-K, which

  announced certain of the Company’s financial and operating results for the quarter and year ended

  December 31, 2015, Allergan stated, in part:

         The Global Generics business delivered solid performance during the fourth
         quarter.

         217.   On February 23, 2016, certain of the Individual Defendants participated in the RBC

  Capital Markets Healthcare Conference. During this conference, Saunders stated:

         We have never been aggressive price takers. We, in fact, have been criticized or I
         have been criticized and I think Bill Meury, who’s here, has been criticized in
         forums like this in the past for not taking more price. And we have always
         explained that this is a customer long-term relationship and to the extent you poke
         them in the eye over and over again, they are going to poke back.

         You wouldn’t do that with any customer regardless of whether it’s a PBM or a
         hospital or a physician buying group or an individual physician. You just don’t
         treat customers that way. There has to be mutual respect and planning, and so
         we price our drugs appropriately.

         We look to take price increases as we believe we can, but we have never done it
         in a significant way because our products don’t lend themselves to that in large
         part. But also our business model and our philosophy doesn’t lend itself to that.

         ***

         And this idea that you can just take price increases as you see fit is really not true.
         There are anomalies and there are companies that have figured out how to exploit
         that system, but the reality is every price increase comes with a reaction. They are
         highly negotiated and the system does, for the most part, work. There are, again,
         anomalies to it, but it does work.

         218.   On February 26, 2016, Allergan filed an Annual Report on Form 10-K with the

  SEC, reiterating the financial and operating results previously announced in the 4Q 2015 Form 8-

  K and reporting in full the Company’s financial and operating results for the quarter and year

  ended December 31, 2015 (the “2015 Form 10-K”).

         219.   In the 2015 Form 10-K, Allergan stated, in part:


                                                   87
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                                                Competition
         The pharmaceutical industry is highly competitive.

         ***

         As a result of the Teva Transaction, the Company’s global generics business is
         classified as discontinued operations. Our discontinued operations actively
         competes in the generic pharmaceutical industry.

         ***

         Accordingly, the level of market share, revenues and gross profit attributable to
         a particular generic product normally is related to the number of competitors in
         that product’s market, pricing and the timing of that product’s regulatory approval
         and launch, in relation to competing approvals and launches. We face competition
         from other generic drug manufacturers and from brand name companies in the
         generic market. Many of these companies seek to participate in sales of generic
         products by, among other things, collaborating with other generic pharmaceutical
         companies or by marketing their own generic equivalent to their brand products as
         “Authorized Generics.”

         220.    The statements set forth in ¶¶ 195-219 above were materially false and misleading

  or omitted material facts about the Company’s business, operations, compliance with policies, and

  financial results. Specifically, Defendants made materially false and/or misleading statements

  which had the effect of concealing, and/or failed to disclose, that: (i) Allergan’s generics unit and

  several of its pharmaceutical industry peers colluded to fix generic drug prices; (ii) the foregoing

  conduct constituted anti-competitive conduct; and (iii) consequently, Allergan’s revenues during

  the Class Period were in part the result of anti-competitive conduct. By electing to speak publicly

  about Allergan’s generic drug business—specifically, pricing and competition for generic drugs

  and revenues from those drugs—and thereby putting these subjects into play during earnings calls

  with shareholders and in SEC filings, Defendants had a duty to fully, completely, and truthfully

  disclose all material facts regarding generic drug pricing, competition, and revenues so as to not

  mislead investors. As a result of the foregoing, Defendants’ public statements were materially

  false and misleading at all relevant times.


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           B.     Financial Statements

           221.   During the Class Period, Allergan reported the financial results set forth in the table

  below:

                                     Net Revenues             Net Generics
                                                                                Net Revenues
           SEC Filing            (Generics Segment) for       Revenues for                         Period
                                                                                 for Period
                                         Period                  Period

       3Q 2013 Form 8-K                $ 1.55 billion                           $2.01 billion     3Q 2013

       4Q 2013 Form 8-K                 $1.70 billion                           $2.78 billion     4Q 2013

        2013 Form 10-K                  $6.35 billion                           $8.68 billion     FY 2013

       1Q 2014 Form 8-K                 $2.26 billion         $1.02 billion     $2.66 billion     1Q 2014

 May 5, 2014 Form 10-Q (“1Q
                                        $2.64 billion         $1.02 billion     $2.66 billion     1Q 2014
     2014 Form 10-Q”)

       2Q 2014 Form 8-K                 $2.24 billion         $1.03 billion     $2.67 billion     2Q 2014

       May 6, 2014 Proxy13                                                      $8.68 billion     FY 2013

  August 5, 2014 Form 10-Q
                                        $2.24 billion         $1.03 billion     $2.67 billion     2Q 2014
   (“2Q 2014 Form 10-Q”)

       3Q 2014 Form 8-K                 $1.64 billion         $1.64 billion     $3.68 billion     3Q 2014

  November 5, 2014 Form 10-
                                        $1.64 billion         $1.64 billion     $3.68 billion     3Q 2014
   Q (“3Q 2014 Form 10-Q”)

   January 27, 2015 Proxy14                                                     $8.68 billion     FY 2013

       4Q 2014 Form 8-K                 $1.78 billion         $1.78 billion     $4.06 billion     4Q 2014

        2014 Form 10-K                  $6.75 billion        $4.18 billion15    $13.06 billion    FY 2014


  13
           The May 6, 2014 Proxy incorporated by reference the 2013 Form 10-K.
  14
         The January 27, 2015 Proxy incorporated by reference the 2013 Form 10-K and the 1Q,
  2Q, and 3Q 2014 Forms 10-Q.
  15
         The Company noted in its 2014 Form 10-K that approximately 61.9% of the $6.75 billion
  in revenues for the North American Generics and International segment “came from our North
  American generics.”

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                                    Net Revenues           Net Generics
                                                                             Net Revenues
          SEC Filing            (Generics Segment) for     Revenues for                        Period
                                                                              for Period
                                        Period                Period

       1Q 2015 Form 8-K               $1.78 billion         $1.78 billion    $4.23 billion    1Q 2014

   May 11, 2015 Form 10-Q
                                      $1.78 billion         $1.78 billion    $4.23 billion    1Q 2015
   (“1Q 2015 Form 10-Q”)

       2Q 2015 Form 8-K                                    $1.58 billion16   $5.76 billion    2Q 2015

  August 6, 2015 Form 10-Q
                                      $1.63 billion         $1.63 billion    $5.76 billion    2Q 2015
   (“2Q 2015 Form 10-Q”)

       3Q 2015 Form 8-K                                                      $4.09 billion    3Q 2015

  November 6, 2015 Form 10-
                                     $1.43 billion17        $1.43 billion    $4.09 billion    3Q 2015
   Q (“3Q 2015 Form 10-Q”)

       4Q 2015 Form 8-K                                                      $4.20 billion    4Q 2015

        2015 Form 10-K                $6.38 billion         $6.38 billion    $15.06 billion   FY 2015

   May 10, 2016 Form 10-Q
                                       $1.3 billion          $1.3 billion     $3.8 billion    1Q 2016
   (“1Q 2016 Form 10-Q”)


         222.    The financial results set forth in ¶ 221 above were materially false and misleading

  because: (i) Allergan’s generics unit and several of its pharmaceutical industry peers colluded to

  fix generic drug prices; (ii) the foregoing conduct constituted anti-competitive conduct; and (iii)

  consequently, Allergan’s revenues during the Class Period were in part the result of anti-

  competitive conduct. None of these facts were disclosed in connection with Defendants’ issuance

  of Allergan’s financial results and, consequently, Defendants concealed the true source of



  16
         Reported as “Total Generic Products Revenues.”
  17
          As a result of Allergan’s July 27, 2015 announcement that the Company had agreed to sell
  its global generics business to Teva, Allergan reported net revenues from its global generics
  business in the “Income from discontinued operations” portion of the Company’s February 26,
  2016 Form 10-K for this filing and all future filings.

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  Allergan’s revenues. By electing to speak publicly about Allergan’s financial results, including

  revenues from its generic drug business, and thereby putting these financial results into play in

  SEC filings, Defendants had a duty to fully, completely, and truthfully disclose all material facts

  regarding such financial results so as to not mislead investors. As a result of the foregoing,

  Defendants’ public statements regarding Allergan’s financial results were materially false and

  misleading at all relevant times.

         C.      False Certifications

         223.    Each of Allergan’s Forms 10-Q filed with the SEC during the Class Period

  contained the following SOX certification:

         The undersigned officer of [Allergan] (the “Compan[y]”), hereby certifies, to such
         officer’s knowledge, that:

                 (i) the Quarterly Report on Form 10-Q of the Compan[y] for the quarter
                 ended [DATE OF QUARTER END] (the “Report”) fully complies with the
                 requirements of Section 13(a) or Section 15(d), as applicable, of the
                 Securities Exchange Act of 1934, as amended; and

                 (ii) the information contained in the Report fairly presents, in all material
                 respects, the financial condition and results of operations of the Compan[y].

         224.    This certification was signed by: Bisaro for the Company’s 3Q 2013 and 1Q 2014

  Forms 10-Q; Saunders for the Company’s 2Q 2014, 3Q 2014, 1Q 2015, 2Q 2015, 3Q 2015, and

  1Q 2016 Forms 10-Q as well as the Company’s August 8, 2016 Form 10-Q (“2Q 2016 Form 10-

  Q”) and its November 4, 2016 Form 10-Q (“3Q 2016 Form 10-Q”); Joyce for the Company’s 3Q

  2013, 1Q 2014, 2Q 2014, and 3Q 2014 Forms 10-Q; and Hilado for the Company’s 1Q 2015, 2Q

  2015, 3Q 2015, 1Q 2016, 2Q 2016, and 3Q 2016 Forms 10-Q.

         225.    Each of Allergan’s Forms 10-K filed with the SEC during the Class Period

  contained the following SOX certification:

         The undersigned officer of [Allergan] . . . (the “Compan[y]”), hereby certifies, to
         such officer’s knowledge, that:

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                (i) the Annual Report on Form 10-K of the Compan[y] for the year ended
                December 31, [year] (the “Report”) fully complies with the requirements of
                Section 13(a) or Section 15(d), as applicable, of the Securities Exchange
                Act of 1934, as amended; and

                (ii) the information contained in the Report fairly presents, in all material
                respects, the financial condition and results of operations of the Compan[y].

         226.   This certification was signed by: Bisaro for the Company’s 2013 Form 10-K;

  Saunders for the Company’s 2014 and 2015 Forms 10-K; Joyce for the Company’s 2013 Form 10-

  K; and Hilado for the Company’s 2014 and 2015 Forms 10-K.

         227.   Each of Allergan’s Forms 10-Q filed with the SEC during the Class Period also

  contained the following certification pursuant to Rule 13a-14(a) of the Exchange Act:

         I, [EXECUTIVE NAME AND TITLE], certify that:

         1. I have reviewed this quarterly report on Form 10-Q of [Allergan];

         2. Based on my knowledge, this report does not contain any untrue statement of a
         material fact or omit to state a material fact necessary to make the statements made,
         in light of the circumstances under which such statements were made, not
         misleading with respect to the period covered by this report;

         3. Based on my knowledge, the financial statements, and other financial
         information included in this report, fairly present in all material respects the
         financial condition, results of operations and cash flows of the registrant as of, and
         for, the periods presented in this report

         ***

         228.   This certification was signed by: Bisaro for the Company’s 3Q 2013 and 1Q 2014

  Forms 10-Q; Saunders for the Company’s 2Q 2014, 3Q 2014, 1Q 2015, 2Q 2015, 3Q 2015, 1Q

  2016, 2Q 2016 and 3Q 2016 Forms 10-Q; Joyce for the Company’s 3Q 2013, 1Q 2014, 2Q 2014

  and 3Q 2014 Forms 10-Q; and Hilado for the Company’s 1Q 2015, 2Q 2015, 3Q 2015, 1Q 2016,

  2Q 2016 and 3Q 2016 Forms 10-Q.

         229.   Each of Allergan’s Forms 10-K filed with the SEC during the Class Period also

  contained the following certification pursuant to Rule 13a-14(a) of the Exchange Act:


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         I, [EXECUTIVE NAME AND TITLE], certify that:

         1. I have reviewed this annual report on Form 10-K of [Allergan];

         2. Based on my knowledge, this report does not contain any untrue statement of a
         material fact or omit to state a material fact necessary to make the statements made,
         in light of the circumstances under which such statements were made, not
         misleading with respect to the period covered by this report;

         3. Based on my knowledge, the financial statements, and other financial
         information included in this report, fairly present in all material respects the
         financial condition, results of operations and cash flows of the registrant as of, and
         for, the periods presented in this report

         ***

         230.    This certification was signed by: Bisaro for the Company’s 2013 Form 10-K;

  Saunders for the Company’s 2014 and 2015 Forms 10-K; Joyce for the Company’s 2013 Form 10-

  K; and Hilado for the Company’s 2014 and 2015 Forms 10-K.

         231.    The certifications referenced in ¶¶ 223-30 above were materially false and

  misleading because Defendants’ Class Period SEC filings contained materially false and/or

  misleading statements and/or failed to disclose material facts about the Company’s business,

  operations, compliance with policies, and financial results. Specifically, these filings contained

  materially false and/or misleading statements which had the effect of concealing, and/or failed to

  disclose, that: (i) Allergan’s generics unit and several of its pharmaceutical industry peers colluded

  to fix generic drug prices; (ii) the foregoing conduct constituted anti-competitive conduct; and (iii)

  consequently, Allergan’s revenues during the Class Period were in part the result of anti-

  competitive conduct. As a result of the foregoing, Defendants’ public statements were materially

  false and misleading at all relevant times.

         D.      Code of Conduct

         232.    Throughout the Class Period, Allergan’s Forms 10-K represented that the Company

  had “adopted a Code of Conduct that applies to our employees, including our principal executive


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  officer, principal financial officer and principal accounting officer.” The version of the referenced

  Code of Conduct, effective as of August 2014, stated: “No employee may discuss with, or provide

  information to, any competitor about pricing or related matters, whether the information concerns

  the Company or Actavis’ suppliers, distributors, wholesalers or customers.” The Company’s Code

  of Conduct also provided “[e]xamples of conduct that violates Actavis policy,” including

  “[a]greements or understandings with competitors on price.” This policy further explained: “An

  ‘agreement’ or ‘understanding’ need not be in writing for it to be unlawful. It can be oral or

  inferred from the conduct of the parties.”

         233.    The statements referenced in ¶ 232 above were materially false and misleading

  and/or omitted material facts because Allergan and its representatives did not comply with the

  Company’s stated Code of Conduct given the anti-competitive and collusive conduct alleged

  herein and failed to disclose that: (i) Allergan’s generics unit and several of its pharmaceutical

  industry peers colluded to fix generic drug prices; (ii) the foregoing conduct constituted anti-

  competitive conduct; and (iii) consequently, Allergan’s revenues during the Class Period were in

  part the result of anti-competitive conduct. Having elected to speak publicly about the Company’s

  adoption of the Code of Conduct which expressly prohibits price collusion, Defendants had a duty

  to fully, completely, and truthfully disclose all material facts regarding violations of that Code of

  Conduct, including the anti-competitive conduct alleged herein. As a result of the foregoing,

  Defendants’ public statements were materially false and misleading at all relevant times.

  VI.    THE TRUTH EMERGES: ALLEGATIONS OF LOSS CAUSATION

         234.    On August 6, 2015, Allergan revealed to shareholders in its Q2 2015 Form 10-Q

  that it had “received a subpoena from the DOJ seeking information relating to the marketing and

  pricing of certain of the Company’s generic products and communications with competitors about

  such products.”

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          235.    On the same day, in an article entitled “Allergan Brought into Widening U.S. Probe

   of Generic Drug Prices,” Bloomberg reported that Allergan had received a subpoena from the DOJ

   “seeking information on the marketing and prices of its generic drugs,” thus “becoming the biggest

   company yet to draw scrutiny in the government’s widening antitrust probe of the industry.” The

   article further revealed that the Company first received the subpoena on June 25, 2015, and that

   the subpoena “sought information about communications with competitors regarding the

   products.” Furthermore, the article named Impax, Lannett, Endo International Plc, and Par as

   having made “similar disclosures” in the past several months.

          236.    Other media outlets reported the DOJ investigation into Allergan as well. In an

   August 6, 2015 article, the Wall Street Journal, reported: “Allergan noted that its Actavis business

   had received a subpoena in June from the Justice Department seeking information relating to the

   marketing and pricing of certain generic products and the company’s communications with

   competitors about such products.” An MTNewswires article published the same day noted

   Allergan’s acknowledgement of the June 25 subpoena in the Company’s SEC filing and also

   referenced Lannett and Impax as among Allergan’s competitors who had made similar disclosures

   regarding the receipt of subpoenas.

          237.    In response to this news, Allergan’s common share price fell $17.17 per share, or

   approximately 5%, from its previous closing price to close at $319.47 per share on August 6, 2015,

   and its preferred share price fell $39.24 per share, or approximately 3.5%, from its previous closing

   price to close at $1,084.00 per share on August 6, 2015.

          238.    Several articles published on August 7, 2015, including articles from

   TheStreet.com, Herald Democrat, and The Buffalo News also discussed Allergan’s receipt of the

   DOJ subpoena. In addition, an August 10, 2015 article from Washington Business Information



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   further discussed the DOJ subpoena, noting, “the request for information about competitors

   suggests DOJ is looking into whether drugmakers colluded to raise generic prices.”

          239.   On November 3, 2016, media outlets reported that U.S. prosecutors might file

   criminal charges against Allergan and several other pharmaceutical companies for unlawfully

   colluding to fix generic drug prices. In an article titled “U.S. Charges in Generic-Drug Probe to

   Be Filed by Year-End,” Bloomberg reported, in relevant part:

          U.S. prosecutors are bearing down on generic pharmaceutical companies in a
          sweeping criminal investigation into suspected price collusion, a fresh challenge
          for an industry that’s already reeling from public outrage over the spiraling costs of
          some medicines.

          The antitrust investigation by the Justice Department, begun about two years ago,
          now spans more than a dozen companies and about two dozen drugs, according to
          people familiar with the matter. The grand jury probe is examining whether some
          executives agreed with one another to raise prices, and the first charges could
          emerge by the end of the year, they said.

          Though individual companies have made various disclosures about the inquiry,
          they have identified only a handful of drugs under scrutiny, including a heart
          treatment and an antibiotic. Among the drugmakers to have received subpoenas
          are industry giants Mylan NV and Teva Pharmaceutical Industries Ltd. Other
          companies include Actavis, which Teva bought from Allergan plc in August,
          Lannett Co., Impax Laboratories Inc., Covis Pharma Holdings Sarl, Sun
          Pharmaceutical Industries Ltd., Mayne Pharma Group Ltd., Endo International
          Plc’s subsidiary Par Pharmaceutical Holdings and Taro Pharmaceutical Industries
          Ltd.

          All of the companies have said they are cooperating except Covis, which said last
          year it was unable to assess the outcome of the investigation.

          240.   On this news, Allergan’s common share price fell $9.07, or approximately 4.6%, to

   close at $188.82 on November 3, 2016, and its preferred share price fell $30.03, or approximately

   4.1%, to close at $708.45 on November 3, 2016.

          241.   Defendants’ conduct, as alleged herein, directly and proximately caused the

   damages suffered by Plaintiffs and the Class. The disclosures of previously misrepresented and


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   concealed material facts about Allergan’s involvement in anti-competitive price collusion caused

   the price of Allergan’s securities to decline markedly, wiping out billions of dollars in shareholder

   wealth.

             242.   It was entirely foreseeable that concealing from the public the Company’s

   involvement in an illegal anti-competitive price-fixing scheme that, among other things, vastly

   inflated the revenues from its generics business, would artificially inflate the price of Allergan’s

   securities. It was also foreseeable that the disclosure of this information, and the materialization

   of concealed risks associated with Allergan’s misconduct, would cause the price of Allergan

   securities to decline as the inflation caused by Allergan’s earlier misrepresentations and omissions

   was removed from the price of Allergan’s securities. Accordingly, the conduct of Defendants, as

   alleged herein, proximately caused foreseeable losses for Plaintiffs and the Class, who purchased

   Allergan securities during the Class Period.

   VII.      SUMMARY OF SCIENTER ALLEGATIONS

             243.   Allergan and the Individual Defendants were active and culpable participants in the

   fraud, as evidenced by their knowing or reckless issuance and/or control over Allergan’s and the

   Individual Defendants’ materially false and misleading statements and omissions. Allergan and

   the Individual Defendants acted with scienter in that they knew or recklessly disregarded that the

   public statements set forth in Section V above were materially false and misleading when made,

   and knowingly or recklessly participated or acquiesced in the issuance or dissemination of such

   statements as primary violators of the federal securities laws. Allergan’s and the Individual

   Defendants’ scienter is evidenced by the following facts, among others:

             244.   First, there were no material increases in demand or production costs or reported

   supply shortages for Allergan’s generic drugs that would justify or otherwise explain the dramatic

   and concerted price increases for these drugs and Allergan’s competitors’ generic drugs during the

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   Class Period. (¶¶ 117-18, 130-31, 150-51, 163-64). The more compelling explanation for these

   price increases is price collusion between Allergan and its competitors, as evidenced by: (i) the

   sudden and astronomical nature of the increases; (ii) the fact that the increases occurred in concert

   with the Company’s competitors; and (iii) the fact that the increases typically occurred within

   weeks of the industry conferences or events attended by Allergan executives, including those

   directly responsible for setting prices at the Company (¶¶ 92, 96, 102-03, 108, 111, 114, 127, 141,

   144, 147, 160). Moreover, the price increases operated as a “one-way ratchet”: as the graphs above

   depict, the drug prices never decreased following the initial price increases to their pre-increase

   equilibrium price points as one would expect if the sudden price increases reflected temporary

   supply shortages, cost increases, or other benign market explanations. (¶¶ 108, 111, 114, 127, 141,

   144, 147, 160).

          245.    Second, price increases of the magnitude alleged herein would have been contrary

   to Allergan’s economic interest absent an agreement to fix prices. Without the certainty that all of

   the Co-Conspirators would raise and maintain the prices for their generic drugs, each Co-

   Conspirator risked getting undercut by the others, leading to a loss of market share and revenue.

   This risk was alleviated by the Co-Conspirators’ agreement to raise and maintain their prices.

          246.    Third, Allergan and the Individual Defendants had a palpable motive to fix prices

   with Allergan’s competitors which derives from the nature of the U.S. generic drug market itself.

   As discussed above (¶¶ 68-70), because federal law requires each generic pharmaceutical to be

   readily substitutable for another generic of the same brand drug, competition will cause prices to

   fall until they near generic drugmakers’ marginal production costs. This is confirmed by the graphs

   of the price movements herein, which show that prior to the alleged price collusion among Allergan

   and the Co-Conspirators, the prices of Propranolol, Ursodiol, Doxycycline, and Desonide had



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   stabilized. (¶¶ 108, 111, 114, 127, 141, 144, 147, 160). This stabilization of prices in turn caused

   Allergan’s profits to level off, thus giving Allergan and its Co-Conspirators a common motive to

   conspire to raise prices.

           247.    Fourth, Allergan and the Individual Defendants had substantial opportunities at

   industry conferences and events to collude on prices. As confirmed by CWs 1 and 2, the Allergan

   representatives who attended the conferences (including Boyer, Falkin, and Rogerson) were in

   charge of setting prices for the Company’s generic drugs. (¶¶ 85-87) Moreover, given the

   frequency and regularity of these conferences—as well as the fact that several of the attendees for

   Allergan and its competitors were “repeat attendees” at the conferences (¶¶ 92, 96 and 102-03)

   and in some cases served together on industry boards (¶ 91)—there is a strong inference that the

   various participants in the alleged price-fixing schemes were well-acquainted with each other,

   bolstering the likelihood that these participants entrusted each other to engage in, and jointly

   conceal, the illicit price-fixing.

           248.    The level of familiarity between Allergan and the Co-Conspirators is further

   demonstrated by the flux of executives from one company to another. For example, in early 2014,

   G. Frederick Wilkinson, the President of Actavis Global R&D, left the Company to become the

   CEO of Co-Conspirator Impax. In commenting on Wilkinson’s departure, Defendant Bisaro noted

   during an April 30, 2014 conference call, “it is always good to have a friend in a competitor.”

   Shortly thereafter, Defendant Olafsson left Allergan to become the President and CEO of Teva’s

   Global Generic Medicines Group.        In discussing Olafsson’s departure for Teva, Defendant

   Saunders stated on June 11, 2014, “it’s nice to have a disciplined competitor at a big company.”

   In addition, Boothe, CEO of Actavis between August 2008 and December 2012, left the Company

   in 2013 and became the Executive Vice President and General Manager of Co-Conspirator



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   Perrigo’s Pharmaceutical business. In July 2016, Co-Conspirator Impax named Boothe as the

   president of its Generics Division.

          249.    Fifth, as discussed above at ¶¶ 171-78, the Amended AG Complaint details specific

   instances where Allergan representatives engaged in numerous and frequent telephone and text

   message communications with representatives from certain of the Co-Conspirators, including

   Heritage, Teva, and Aurobindo, throughout the Class Period. On these calls, the companies’

   representatives discussed, among other things, their desire to raise or maintain prices with respect

   to specific drugs. The Amended AG Complaint also made clear that Allergan and its co-

   conspirators typically agreed upon collusive price-fixing over in-person meetings, phone calls, and

   text messages, rather than through email or other formal types of communications. The Amended

   AG Complaint further describes how the named defendant generic manufacturers often took “overt

   and calculated steps to destroy evidence” of any written communications documenting the

   collusive arrangements. This behavior indicates knowledge of the unlawfulness of their conduct.

          250.    Sixth, as described above (at Section III.H), the historic rise in generic drug prices

   immediately before and during the Class Period was well publicized. These price increases led

   Congress to commence an industry-wide investigation beginning in 2014. On October 2, 2014,

   Defendant Saunders received a letter from U.S. Senator Bernie Sanders and U.S. Representative

   Elijah Cummings, putting Allergan on notice of an investigation and requesting pricing data and

   other information regarding the Company’s generics business (¶¶ 180-81). This Congressional

   investigation, the subsequent DOJ subpoena to the Company, and the widespread publicity

   surrounding the price hikes that spawned these investigations, gave rise to a duty to investigate the

   existence of price collusion and a duty to monitor changes in the Company’s generic drug pricing.

   These duties to investigate and monitor fell upon the Individual Defendants as the Company’s



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   senior-most executives who were responsible for signing and attesting to the accuracy of the

   Company’s filings with the SEC and addressing market analysts and the investing public during

   earnings calls. Even without the Congressional—and later, DOJ—investigations, the Individual

   Defendants’ duties to investigate and monitor were triggered by the Company’s Code of Conduct

   which expressly prohibited price-fixing and other anti-competitive conduct. At a minimum,

   Allergan’s and the Individual Defendants’ false and misleading statements were recklessly made,

   in dereliction of their duty to investigate perceived anti-competitive behavior and their duty to

   monitor changes in the pricing of the Company’s core products.

          251.    Seventh, Allergan’s production of generic drugs was the Company’s core operation

   during the Class Period. As discussed and demonstrated in the charts above (¶¶ 28, 221), generic

   drug sales accounted for a substantial portion of Allergan’s revenues and operations during the

   Class Period. For example, in 2014, Allergan’s revenues from generics accounted for 32% of the

   Company’s total revenues. In 2015, the percentage of the Company’s revenues from generics

   jumped to 42%. Further, analysts covering Allergan during the Class Period, including JP Morgan

   and Piper Jaffray, identified “greater-than-expected price erosion/competition for the company’s

   core US generics business” and “pricing pressure for key generics products” as among the risks to

   achieving the analysts’ stated price targets, suggesting that the market considered Allergan’s

   generics business to be a primary determinant of the Company’s bottom line. It is implausible that

   the Individual Defendants, who were the Company’s senior-most executives, were unaware of the

   historically colossal price increases and the price-fixing agreements with Co-Conspirators. The

   Individual Defendants had access to information concerning these price increases, including the

   Company’s pricing models described above (¶ 86). At a minimum, they were reckless in falsely

   telling investors that the market for Allergan’s generic drugs was truly competitive without



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   confirming the absence of price collusion, and reckless in certifying the accuracy of the Company’s

   substantial Class Period revenues without confirming the true reason for these revenues (i.e., price

   collusion).

          252.    Eighth, the fact that the DOJ has intervened in at least six civil antitrust actions

   against Allergan, and later in all seven of the Generics MDL actions involving Allergan, after

   subpoenaing and receiving documents from the Company, strongly suggests that federal

   prosecutors have determined that there is evidence of a criminal conspiracy to fix prices in an anti-

   competitive manner. At least two former executives of Allergan’s Co-Conspirator, Heritage, have

   pled guilty to price-fixing charges in connection with one of the drugs (Doxycycline) also sold by

   Allergan during the Class Period. (¶¶ 184-85). In addition, Allergan has recently been named as

   a defendant in the Amended AG Complaint, which documents Allergan’s active and direct role in

   the price-fixing conspiracy.

          253.    The Individual Defendants’ scienter is further evidenced by the following facts:

          254.    Bisaro served as Allergan’s CEO and President from before the start of the Class

   Period through July 2014 and signed SOX certifications and Rule 13a-14(a) certifications for the

   Company’s 3Q 2013 and 1Q 2014 Forms 10-Q and 2013 Form 10-K. As a signatory of (i) the

   SOX certification representing that “the information contained in the [SEC filings] fairly presents,

   in all material respects, the financial condition and results of operations of [Allergan],” and (ii) the

   Rule 13a-14(a) certification representing that the Company’s SEC filings did “not contain any

   untrue statement of a material fact or omit to state a material fact necessary to make the statements

   made . . . not misleading,” Bisaro had a duty to monitor any conduct that threatened to undermine

   the veracity of these filings, including the anti-competitive conduct alleged herein. Bisaro, as

   Allergan’s CEO, had access to pricing data for the Company’s generic drugs. Notwithstanding



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   the certifications signed by Bisaro and his access to pricing data, Bisaro knowingly or recklessly

   failed to disclose the price-fixing scheme.

          255.    Bisaro also made a materially false and misleading statement during a Company

   earnings call on May 11, 2015 in response to a question specifically regarding “generic drug

   pricing given that there have been concerns that it may not be as favorable going forward,”

   demonstrating that he was in a position to know all material facts regarding the Company’s generic

   drug pricing. Even in the face of this direct question, Bisaro never disclosed the price-fixing

   scheme, opting instead to project a false picture of a highly competitive, generic pharmaceutical

   market. (¶ 213).

          256.    Among other industry events, Bisaro attended the NACDS 2013 Annual Meeting

   that was also attended by representatives from a number of the Co-Conspirators. This meeting

   accompanied the dramatic and historic increase in the price of Doxycycline hyclate 100mg

   capsules and 100mg tablets manufactured by Allergan and certain of the Co-Conspirators (¶¶ 144,

   146, 147, 149), as well as Allergan’s entrance into the market for 15g tubes of generic Desonide

   0.05% at inflated prices (¶ 160).

          257.    Bisaro sold 40,921 shares of Allergan stock, amounting to 8% of his holdings, for

   almost $6.5 million on November 11, 2013.

          258.    Saunders served as Allergan’s CEO from July 2014 through the end of the Class

   Period and signed SOX certifications and Rule 13a-14(a) certifications for the Company’s 2Q

   2014, 3Q 2014, 1Q 2015, 2Q 2015, 3Q 2015, 1Q 2016, 2Q 2016, and 3Q 2016 Forms 10-Q and

   2014 and 2015 Forms 10-K. As a signatory of (i) the SOX certification representing that “the

   information contained in the [SEC filings] fairly presents, in all material respects, the financial

   condition and results of operations of [Allergan],” and (ii) the Rule 13a-14(a) certification



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   representing that the Company’s SEC filings did “not contain any untrue statement of a material

   fact or omit to state a material fact necessary to make the statements made . . . not misleading,”

   Saunders had a duty to monitor any conduct that threatened to undermine the veracity of these

   filings, including the anti-competitive conduct alleged herein. Saunders, as Allergan’s CEO, had

   access to pricing data for the Company’s generic drugs. Notwithstanding the certifications signed

   by Saunders and his access to pricing data, Saunders knowingly or recklessly failed to disclose the

   price-fixing scheme.

           259.    Saunders also made false and misleading statements on the Company’s earnings

   calls on August 5, 2014 and May 11, 2015, in response to questions from analysts specifically

   inquiring about the “US generic pricing outlook for 2014 and 2015” and “aggressive pricing

   increases,” demonstrating that he was in a position to know all material facts regarding the

   Company’s generic drug pricing. Moreover, Saunders appeared on CNBC’s August 6, 2015

   episode of Mad Money, where he downplayed the significance of the DOJ subpoena, denied any

   collusion, and attributed any generic price increases to “supply and demand” issues. Even in the

   face of these direct questions, Saunders never disclosed the price-fixing scheme, opting instead to

   project a false picture of a highly competitive generic pharmaceutical market. (¶¶ 204, 211).

           260.    Joyce served as Allergan’s CFO from before the start of the Class Period through

   December 2014 and signed SOX certifications and Rule 13a-14(a) certifications for the

   Company’s 3Q 2013, 1Q 2014, 2Q 2014, and 3Q 2014 Forms 10-Q and 2013 Form 10-K. As a

   signatory of (i) the SOX certification representing that “the information contained in the [SEC

   filings] fairly presents, in all material respects, the financial condition and results of operations of

   [Allergan],” and (ii) the Rule 13a-14(a) certification representing that the Company’s SEC filings

   did “not contain any untrue statement of a material fact or omit to state a material fact necessary



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   to make the statements made . . . not misleading,” Joyce had a duty to monitor any conduct that

   threatened to undermine the veracity of these filings, including the anti-competitive conduct

   alleged herein. Joyce, as Allergan’s CFO, had access to pricing data for the Company’s generic

   drugs. Notwithstanding the certifications signed by Joyce and his access to pricing data, Joyce

   knowingly or recklessly failed to disclose the price-fixing scheme. Joyce also signed Allergan’s

   3Q 2013, 4Q 2013, 1Q 2014, 2Q 2014, and 3Q 2014 Forms 8-K, each of which contained material

   misstatements.

          261.      Joyce sold 15,000 shares of Allergan stock on November 5, 2013, 7,500 shares on

   November 6, 2013, and 7,500 shares on December 6, 2013, amounting to more than 37% of his

   total holdings, for a sum of almost $4.8 million.

          262.      Hilado served as Allergan’s CFO from December 2014 through the end of the Class

   Period and signed SOX certifications and Rule 13a-14(a) certifications for the Company’s 1Q

   2015, 2Q 2015, 3Q 2015, 1Q 2016, 2Q 2016, and 3Q 2016 Forms 10-Q and 2014 and 2015 Forms

   10-K. As a signatory of (i) the SOX certification representing that “the information contained in

   the [SEC filings] fairly presents, in all material respects, the financial condition and results of

   operations of [Allergan],” and (ii) the Rule 13a-14(a) certification representing that the Company’s

   SEC filings did “not contain any untrue statement of a material fact or omit to state a material fact

   necessary to make the statements made . . . not misleading,” Hilado had a duty to monitor any

   conduct that threatened to undermine the veracity of these filings, including the anti-competitive

   conduct alleged herein. Hilado, as Allergan’s CFO, had access to pricing data for the Company’s

   generic drugs. Notwithstanding the certifications signed by Hilado and her access to pricing data,

   Hilado knowingly or recklessly failed to disclose the price-fixing scheme. Hilado also signed




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   Allergan’s 4Q 2014, 1Q 2015, 2Q 2015, 3Q 2015, and 4Q 2015 Forms 8-K, each of which

   contained material misstatements.

          263.    Olafsson served as a director of Allergan and the President of Actavis Pharma, the

   Allergan segment that included the Company’s generics business, from April 2012 to June 2014.

   As the highest-ranking officer of Actavis Pharma, Olafsson had access to pricing data for the

   Company’s generic drugs.      Olafsson knowingly or recklessly made a materially false and

   misleading statement regarding generic pricing during an October 29, 2013 Company earnings call

   and also signed the Company’s 2013 Form 10-K. He also knowingly or recklessly failed to

   disclose the price-fixing scheme.

          264.    Among other industry events, Olafsson attended the GPhA 2013 Annual Meeting

   in Orlando, Florida that was also attended by representatives from a number of the Co-

   Conspirators. This meeting preceded a dramatic and historic increase in the price of Doxycycline

   hyclate 50mg and 100mg capsules and 100mg tablets manufactured by Allergan and certain of the

   Co-Conspirators. (¶¶ 141, 143, 144, 146, 147, 149).

          265.    Olafsson sold 25,000 shares of Allergan stock on November 11, 2013, amounting

   to more than 25% of his total holdings, for almost $4 million.

          266.    Buchen served as the Executive Vice President, Commercial, North American

   Generics and International from July 2014 to March 21, 2015. Buchen knowingly or recklessly

   made a false and misleading statement during the Company’s August 5, 2014 earnings call in

   response to questions from analysts specifically inquiring about the “US generic pricing outlook

   for 2014 and 2015” and “aggressive pricing increases,” demonstrating that he was in a position to

   know all material facts regarding the Company’s generic drug pricing. Even in the face of these




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   direct questions, Buchen never disclosed the price-fixing scheme, opting instead to project a false

   picture of a highly competitive, generic pharmaceutical market. (¶ 205).

          267.    Buchen sold 30,000 shares of Allergan stock on November 11, 2013, amounting to

   more than 33% of his total holdings, for almost $4.8 million.

   VIII. CLASS ACTION ALLEGATIONS

          268.    Plaintiffs bring this action on their own behalf and as a class action pursuant to

   Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure on behalf of a class consisting of

   all persons and entities who purchased the common or preferred stock of Allergan from October

   29, 2013, through and including November 2, 2016, and were damaged thereby. Excluded from

   the Class are: (i) Defendants; (ii) members of the immediate families of the Individual Defendants;

   (iii) the Company’s subsidiaries and affiliates; (iv) any person who is or was an officer or director

   of the Company or any of the Company’s subsidiaries or affiliates during the Class Period; (v) any

   entity in which any Defendant has a controlling interest; and (vi) the legal representatives, heirs,

   successors, and assigns of any such excluded person or entity.

          269.    The members of the Class are so numerous that joinder of all members is

   impracticable. During the Class Period, Allergan had more than 170 million shares of common

   stock outstanding and actively trading on the NYSE. From February 24, 2015, through the end of

   the Class Period, the Company had more than 5 million shares of preferred stock outstanding and

   actively trading on the NYSE. While the exact number of Class members is unknown to Plaintiffs

   at this time and can only be ascertained through appropriate discovery, Plaintiffs believe that the

   proposed Class numbers in the thousands and is geographically widely dispersed. Record owners

   and other members of the Class may be identified from records maintained by the Company or its

   transfer agent and may be notified of the pendency of this action by mail, using a form of notice

   similar to that customarily used in securities class actions.

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          270.    Plaintiffs’ claims are typical of the claims of the members of the Class. All

   members of the Class were similarly affected by Defendants’ alleged conduct in violation of the

   Exchange Act as complained of herein.

          271.    Plaintiffs will fairly and adequately protect the interests of the members of the

   Class. Plaintiffs have retained counsel competent and experienced in class and securities litigation.

          272.    Common questions of law and fact exist as to all members of the Class and

   predominate over any questions solely affecting individual members of the Class. The questions

   of law and fact common to the Class include:

          •   whether Defendants violated the federal securities laws by their acts and
              omissions as alleged herein;

          •   whether Defendants made statements to the investing public during the Class
              Period that contained material misrepresentations or omitted material facts;

          •   whether and to what extent the market price of Allergan’s common and
              preferred stock was artificially inflated during the Class Period because of the
              material misstatements and omissions alleged herein;

          •   whether Allergan and the Individual Defendants acted with the requisite level
              of scienter;

          •   whether the Individual Defendants were controlling persons of the Company;

          •   whether reliance may be presumed; and

          •   whether the members of the Class have sustained damages as a result of the
              conduct complained of herein and, if so, the proper measure of damages.

          273.    A class action is superior to all other available methods for the fair and efficient

   adjudication of this controversy because, among other things, joinder of all members of the Class

   is impracticable. Furthermore, because the damages suffered by individual Class members may

   be relatively small, the expense and burden of individual litigation make it impossible for members

   of the Class to individually redress the wrongs done to them. There will be no difficulty in the

   management of this action as a class action.

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   IX.     CAUSES OF ACTION

                                             COUNT I
        For Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated
      Thereunder Against Allergan, Bisaro, Saunders, Joyce, Hilado, Olafsson, and Buchen

           274.       Plaintiffs repeat and reallege each and every allegation set forth above as if fully

   set forth herein.

           275.       This Count is asserted pursuant to Section 10(b) of the Exchange Act, and Rule

   10b-5 promulgated thereunder, against Allergan and the Individual Defendants.

           276.       As alleged herein, throughout the Class Period, Allergan and the Individual

   Defendants, individually and in concert, directly and indirectly, by the use of the means or

   instrumentalities of interstate commerce, the mails and/or the facilities of national securities

   exchanges, made materially untrue statements of material fact and/or omitted to state material facts

   necessary to make their statements not misleading and carried out a plan, scheme, and course of

   conduct, in violation of Section 10(b) of the Exchange Act and Rule 10b-5 promulgated

   thereunder. Allergan and the Individual Defendants intended to and did, as alleged herein,

   (i) deceive the investing public, including Plaintiffs and members of the Class; (ii) artificially

   inflate and maintain the prices of Allergan’s common and preferred stock; and (iii) cause Plaintiffs

   and members of the Class to purchase the Company’s common and preferred stock at artificially

   inflated prices.

           277.       The Individual Defendants were individually and collectively responsible for

   making the materially false and misleading statements and omissions alleged herein and having

   engaged in a plan, scheme, and course of conduct designed to deceive Plaintiffs and members of

   the Class, by virtue of having made public statements and prepared, approved, signed, and/or

   disseminated documents that contained untrue statements of material fact and/or omitted facts

   necessary to make the statements therein not misleading.

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            278.   As set forth above, Allergan and the Individual Defendants made the materially

   false and misleading statements and omissions and engaged in the fraudulent activity described

   herein knowingly and intentionally, or in such a deliberately reckless manner as to constitute

   willful deceit and fraud upon Plaintiffs and the other members of the Class who purchased the

   Company’s common and preferred stock during the Class Period.

            279.   In ignorance of the materially false and misleading nature of Allergan’s and the

   Individual Defendants’ statements and omissions, and relying directly or indirectly on those

   statements or upon the integrity of the market price for Allergan’s common and preferred stock,

   Plaintiffs and other members of the Class purchased the Company’s common and preferred stock

   at artificially inflated prices during the Class Period. But for the fraud, Plaintiffs and members of

   the Class would not have purchased the Company’s common and preferred stock at such

   artificially inflated prices. As set forth herein, when the true facts were subsequently disclosed,

   the price of Allergan’s common and preferred stock declined precipitously, and Plaintiffs and

   members of the Class were harmed and damaged as a direct and proximate result of their purchases

   of the Company’s common and preferred stock at artificially inflated prices and the subsequent

   decline in the price of that stock when the truth was disclosed.

            280.   By virtue of the foregoing, Allergan and the Individual Defendants are liable to

   Plaintiffs and members of the Class for violations of Section 10(b) of the Exchange Act and Rule

   10b-5.

                                            COUNT II
                        For Violations of Section 20(a) of the Exchange Act
                   Against Bisaro, Saunders, Joyce, Hilado, Olafsson, and Buchen

            281.   Plaintiffs repeat and reallege each and every allegation set forth above as if fully

   set forth herein.



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          282.    This Count is asserted pursuant to Section 20(a) of the Exchange Act against each

   of the Individual Defendants.

          283.    As alleged above, the Company violated Section 10(b) of the Exchange Act and

   Rule 10b-5 promulgated thereunder by making materially false and misleading statements and

   omissions in connection with the purchase or sale of Allergan’s common and preferred stock and

   by participating in a fraudulent scheme and course of business or conduct throughout the Class

   Period. This fraudulent conduct was undertaken with scienter, and Allergan is charged with the

   knowledge and scienter of each of the Individual Defendants who knew of or acted with deliberate

   reckless disregard of the falsity of the Company’s statements and the fraudulent nature of its

   scheme during the Class Period.

          284.    As set forth above, the Individual Defendants were controlling persons of the

   Company during the Class Period, due to their senior executive positions with the Company and

   their direct involvement in the Company’s day-to-day operations, including their power to control

   or influence the policies and practices giving rise to the securities violations alleged herein, and

   exercised the same.

          285.    By virtue of the foregoing, the Individual Defendants each had the power to

   influence and control, and did influence and control, directly or indirectly, the decision-making of

   the Company, including the content of its public statements with respect to its operations, corporate

   governance, and compliance with regulators.

          286.    The Individual Defendants were culpable participants in Allergan’s fraud alleged

   herein, by acting acted knowingly and intentionally, or in such a deliberately reckless manner as

   to constitute willful fraud and deceit upon Plaintiffs and the other members of the Class who

   purchased the Company’s common and preferred stock during the Class Period.



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          287.    By reason of the foregoing, the Individual Defendants are liable to Plaintiffs and

   the members of the Class as controlling persons of the Company in violation of Section 20(a) of

   the Exchange Act.

                                            COUNT III
        For Violations of Section 14(a) of the Exchange Act and Rule 14a-9 Promulgated
    Thereunder Against Allergan, Saunders, Bisaro, Olafsson, Bloem, Bodine, Howson, King,
               Klema, Michal, Michelson, O’Sullivan, Taylor, Turner, and Weiss

          288.    This Count is asserted pursuant to Section 14(a) of the Exchange Act, and Rule

   14a-9 promulgated thereunder, in connection with the Forest Merger. This claim is asserted

   against Allergan, Saunders, and the 2014 Board of Directors.

          289.    For purposes of this Count, Plaintiffs expressly exclude and disclaim any allegation

   that could be construed as alleging or sounding in fraud or intentional or reckless misconduct. This

   claim is based solely on negligence.

          290.    The May 6, 2014 Proxy and the documents attached to the May 6, 2014 Proxy or

   incorporated by reference therein misrepresented material facts or omitted material facts required

   to be stated to make the statements contained in those documents not misleading.

          291.    Defendants named in this count failed to update the May 6, 2014 Proxy when

   material information arose between the dissemination of these documents or statements and the

   June 17, 2014 shareholder vote.

          292.    Defendants named in this count, jointly and severally, solicited and permitted the

   use of their names in solicitations contained in the May 6, 2014 Proxy.

          293.    Allergan was an issuer of the May 6, 2014 Proxy. Allergan also permitted the use

   of its name in the May 6, 2014 Proxy by allowing the document to represent, among other things,

   its operating results and financial condition.




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          294.   Defendants Bisaro and Saunders signed the cover letters for the May 6, 2014 Proxy

   and permitted the use of their names in connection with the May 6, 2014 Proxy.

          295.   Defendant Buchen signed the Notice of the Extraordinary General Meeting of

   Shareholders to be held on June 17, 2014, and permitted the use of his name in connection with

   the May 6, 2014 Proxy.

          296.   Defendants Bloem, Bodine, Howson, King, Klema, Michal, Michelson,

   O’Sullivan, Taylor, Turner, and Weiss permitted the use of their names in connection with the

   May 6, 2014 Proxy by, among other things, allowing the May 6, 2014 Proxy to represent that they

   recommended a vote to approve the Forest Merger.

          297.   By means of the May 6, 2014 Proxy and the documents attached to or incorporated

   by reference therein, Defendants named in this count sought to secure the approval of the Forest

   Merger from AP7 and other Class members who were Forest shareholders, and solicited proxies

   from AP7 and other Class members who were Forest shareholders.

          298.   Each Defendant named in this count acted negligently in making false or

   misleading statements of material fact, omitting material facts required to be stated to make the

   statements contained in the May 6, 2014 Proxy not misleading, and failing to update statements

   that were rendered misleading by material information that arose after the dissemination of these

   statements and before the June 17, 2014 shareholder vote.

          299.   The May 6, 2014 Proxy described in this Count was an essential link in the

   accomplishment of the Forest Merger. As a result of the May 6, 2014 Proxy, Allergan and Forest

   shareholders approved the Forest Merger.

          300.   AP7 and the other Class members who were Forest shareholders and were eligible

   to vote on the Forest Merger were denied the opportunity to make an informed decision in voting



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   on the Forest Merger as a result, and were damaged as a direct and proximate result of the

   materially false or misleading statements and omissions as alleged in this Count.

          301.    As a result of their acquisition of Allergan stock in the Forest Merger in exchange

   for their Forest stock at an artificially inflated price, and the corrections removing the artificial

   inflation in the price of those Allergan shares, AP7 and the Class of Forest shareholders entitled to

   vote on the Forest Merger suffered economic harm under Section 14(a) of the Exchange Act.

   Alternatively, AP7 and the Class of Forest shareholders entitled to vote on the Forest Merger who

   received Allergan shares are entitled to a rescissory measure of damages sufficient to put them

   back in the economic position they were in before the consummation of the Forest Merger.

          302.    By reason of the foregoing, the Defendants named in this count violated Section

   14(a) of the Exchange Act and Rule 14a-9.

                                           COUNT IV
       For Violations of Section 14(a) of the Exchange Act and Rule 14a-9 Promulgated
     Thereunder Against Allergan, Saunders, Bisaro, Bloem, Bodine, Howson, King, Klema,
              Michal, O’Sullivan, Taylor, Turner, Weiss, Basgoz, and Coughlin

          303.    This Count is asserted pursuant to Section 14(a) of the Exchange Act, and Rule

   14a-9 promulgated thereunder, in connection with the Actavis Merger. This claim is asserted

   against Allergan, Saunders, and the 2015 Board of Directors.

          304.    For purposes of this Count, Plaintiffs expressly exclude and disclaim any allegation

   that could be construed as alleging or sounding in fraud or intentional or reckless misconduct. This

   claim is based solely on negligence.

          305.    The January 27, 2015 Proxy and the documents attached to the January 27, 2015

   Proxy or incorporated by reference therein misrepresented material facts or omitted material facts

   required to be stated to make the statements contained in those documents not misleading.




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          306.    Defendants named in this count failed to update the January 27, 2015 Proxy when

   material information arose between the dissemination of these documents or statements and the

   March 10, 2015 shareholder vote.

          307.    Defendants named in this count, jointly and severally, solicited and permitted the

   use of their names in solicitations contained in the January 27, 2015 Proxy.

          308.    Allergan was an issuer of the January 27, 2015 Proxy. Allergan also permitted the

   use of its name in the January 27, 2015 Proxy by allowing the document to represent, among other

   things, its operating results and financial condition.

          309.    Defendants Bisaro and Saunders signed the cover letters for the January 27, 2015

   Proxy and permitted the use of their names in connection with the January 27, 2015 Proxy.

          310.    Defendants Bloem, Bodine, Howson, King, Klema, Michal, O’Sullivan, Taylor,

   Turner, Weiss, Basgoz, and Coughlin permitted the use of their names in connection with the

   January 27, 2015 Proxy by, among other things, allowing the January 27, 2015 Proxy to represent

   that they recommended a vote to approve the Actavis Merger.

          311.    By means of the January 27, 2015 Proxy and the documents attached to or

   incorporated by reference therein, Defendants named in this count sought to secure the approval

   of the Actavis Merger from AP7 and other Class members who were Allergan, Inc. shareholders

   and solicited proxies from AP7 and other Class members.

          312.    Each Defendant named in this count acted negligently in making false or

   misleading statements of material fact, omitting material facts required to be stated to make the

   statements contained in the January 27, 2015 Proxy not misleading, and failing to update

   statements that were rendered misleading by material information that arose after the

   dissemination of these statements and before the March 10, 2015 shareholder vote.



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           313.   The January 27, 2015 Proxy described in this Count was an essential link in the

   accomplishment of the Actavis Merger. As a result of the January 27, 2015 Proxy, Allergan and

   Actavis shareholders approved the Actavis Merger.

           314.   Plaintiff and the Class members who were Allergan, Inc. shareholders eligible to

   vote on the Actavis Merger were denied the opportunity to make an informed decision in voting

   on the Actavis Merger as a result, and were damaged as a direct and proximate result of the

   materially false or misleading statements and omissions as alleged in this Count.

           315.   As a result of their acquisition of Allergan plc stock in the Actavis Merger in

   exchange for their Allergan, Inc. stock at an artificially inflated price, and the corrections removing

   the artificial inflation in the price of those Allergan plc shares, AP7 and the Class of Allergan, Inc.

   shareholders entitled to vote on the Actavis Merger suffered economic harm under Section 14(a)

   of the Exchange Act. Alternatively, AP7 and the Class of Allergan, Inc. shareholders entitled to

   vote on the Actavis Merger who received Allergan plc shares are entitled to a rescissory measure

   of damages sufficient to put them back in the economic position they were in before the

   consummation of the Actavis Merger.

           316.   By reason of the foregoing, the Defendants named in this count violated Section

   14(a) of the Exchange Act and Rule 14a-9.

   X.      PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs respectfully pray for judgment as follows:

           317.   Determining that this action is a proper class action maintained under Rules 23(a)

   and (b)(3) of the Federal Rules of Civil Procedure, certifying Plaintiffs as class representatives,

   and appointing Kessler Topaz Meltzer & Check, LLP and Motley Rice LLC as class counsel

   pursuant to Rule 23(g);



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          318.    Declaring and determining that Defendants violated the Exchange Act by reason of

   the acts and omissions alleged herein;

          319.    Awarding Plaintiffs and the Class compensatory damages against all Defendants,

   jointly and severally, in an amount to be proven at trial together with prejudgment interest thereon;

          320.    Awarding Plaintiffs and the Class their reasonable costs and expenses incurred in

   this action, including but not limited to, attorneys’ fees and costs incurred by consulting and

   testifying expert witnesses; and

          321.    Granting such other and further relief as the Court deems just and proper.

                                      JURY TRIAL DEMANDED

          Plaintiffs hereby demand a trial by jury.


   Dated: November 28, 2017


   Respectfully submitted,

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